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18
                           UNITED STATES DISTRICT COURT
19
                          CENTRAL DISTRICT OF CALIFORNIA
20                              WESTERN DIVISION
21   CHRISTY PALMER, VARTAN                   CASE NO. 17-CV-6848 DMG (PLAx)
22   PIROUMIAN, EDWARD COX, and
     JEAN-CLAUDE FRANCHITTI,                  JOINT STIPULATION REGARDING
23                                            SANCTIONS
                       Plaintiffs,
24                                            Hon. Paul L. Abrams
25         v.
                                              Hearing
26   COGNIZANT TECHNOLOGY                     Date: December 15, 2021
     SOLUTIONS CORPORATION and                Time: 10:00 a.m.
27
     COGNIZANT TECHNOLOGY                     Place: Telephonically
28   SOLUTIONS U.S. CORPORATION,              Complaint Filed: September 18, 2017

                             JOINT STIP. RE DISCOVERY DISPUTE
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1                                          Discovery Cut-Off: December 16, 2021
                     Defendants.           Pre-Trial Conference Date: July 26, 2022
2
                                           Trial Date: August 23, 2022
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1          Pursuant to Federal Rule of Civil Procedure 37(a), Local Rule 37-2, and Magistrate
2    Judge Abrams’ Procedures, Plaintiffs Palmer, Piroumian, Cox, and Franchitti
3    (“Plaintiffs”) and Defendants Cognizant Technology Solutions Corporation and
4    Cognizant Technology Solutions U.S. Corporation (“Cognizant”) submit this Joint
5    Stipulation regarding the following issues: (1) whether Cognizant should be sanctioned
6    for spoliating evidence in this case; (2) whether Cognizant should be sanctioned for
7    providing false discovery certifications regarding the location and existence of relevant
8    ESI; (3) whether Cognizant’s late production of arbitration agreements warrants Plaintiffs
9    pursuing follow-up discovery on them; (4) whether Cognizant should be sanctioned for its
10   improper and misleading communications with putative class members; and (5) whether
11   Cognizant should be compelled to produce improperly withheld documents and to provide
12   discovery related to such documents after they are produced.
13   I.    INTRODUCTORY STATEMENTS
14                A.    Plaintiffs’ Introductory Statement
15         Discovery in this case has been taxing, for Plaintiffs and the Court alike, with
16   discovery disputes multiplying as more information has come to light about Cognizant’s
17   discovery failures. It has now become apparent that Cognizant has lost a significant
18   number of documents from critical custodians and that key document repositories have
19   not yet been searched. Cognizant seeks to embark on a new discovery period to search
20   for and produce documents from places that it previously committed to searching, which
21   would be this case’s third discovery period. With the passage of time, and as the scope
22   of its discovery problems have become more apparent, Cognizant has become
23   increasingly disdainful, to the point that it is now suing Plaintiff Edward Cox’s widow
24   in New Jersey for repayment of her deceased husband’s salary simply because Mrs. Cox
25   seeks substitution in this case—a retaliatory tactic outlawed by Title VII.1
26

27         1
            Cognizant initially sued Plaintiff Cox for having retained his Cognizant email
28   box in anticipation of litigation. Upon learning of Mr. Cox’s death, and receiving

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1          Plaintiffs are in a difficult position. On one hand, they want to complete this case
2    as quickly as possible and without further burdening the Court with discovery issues.
3    On the other hand, the discovery events that have transpired are so extensive and
4    prejudicial that pursuing sanctions is the only mechanism available to Plaintiffs to
5    mitigate the prejudice.
6          Accordingly, Plaintiffs seek five forms of relief in this discovery motion. First,
7    Plaintiffs seek an adverse inference jury instruction as a consequence for Cognizant’s
8    spoliation. Key documents from critical custodians have been lost and destroyed as a
9    result of Cognizant’s intentional actions. Among other failures, Cognizant substituted a
10   critical ESI custodian with another Cognizant employee with a similar name, and then
11   failed to preserve the correct custodian’s files; failed to timely issue litigation holds
12   leading to the loss of evidence; and failed to preserve and collect ESI from shared drives
13   and laptops, leading to the loss of documents. An adverse inference jury instruction is
14   thus warranted. If, based on the record below, the Court is not convinced that spoliation
15   has occurred, Plaintiffs alternatively request an order compelling Cognizant to produce
16   forensic images of custodian computers and devices that Cognizant has represented no
17   longer have discoverable information, as Plaintiffs believe expert analyses of these
18   devices will evidence intentional document destruction.
19         Second, Plaintiffs seek an order compelling Cognizant to produce outstanding
20   custodial ESI, extending the case schedule to allow for discovery associated with these
21   documents, and awarding monetary sanctions to compensate Plaintiffs for the additional
22   time and resources required to secure and pursue another discovery period.
23         Third, Plaintiffs seek an order allowing Plaintiffs to take discovery of Cognizant
24   concerning 14,850 arbitration agreements it produced on October 14, 2021 (the day
25   before the close of fact discovery). Because of the late date on which these agreements
26   were produced, Plaintiffs did not have an opportunity to pursue discovery relating to
27
     confirmation from his widow that she had no access to Mr. Cox’s Cognizant emails,
28   Cognizant still chose to sue her, seeking repayment of Mr. Cox’s salary as damages.
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1    them by the October 15, 2021 discovery deadline.             Discovery concerning these
2    agreements is critical to exploring their validity and applicability to this case.
3          Fourth, Plaintiffs seek an order in relation to phone calls Cognizant’s counsel has
4    been making to putative class members, some of which were recorded. On these calls,
5    information was not shared with the putative class members about their interest in this
6    case and that their interests were diametrically opposed to the attorneys with whom they
7    were speaking. Plaintiffs seek an order preventing Cognizant’s counsel from further
8    contacting putative class members and requiring production of recordings and notes of
9    conversations with putative class members.
10         Fifth, Plaintiffs seek an order compelling Cognizant to search for and produce
11   responsive custodial ESI from shared drives, laptops, and any other previously unsearched
12   locations, as well as extend the case schedule to allow for additional discovery of
13   unproduced documents.
14                B.     Defendants’ Introductory Statement
15         Cognizant agrees that discovery in this matter has been taxing—it has produced
16   hundreds of thousands of documents (and collected and searched even more), identified
17   and produced vast troves of data for more than 100,000 employees and even more
18   applicants, responded to numerous written discovery requests, responded to a multitude
19   of informal questions posed by Plaintiffs, and presented high-level employees for
20   depositions. Yet, ignoring all of that, Plaintiffs have, in 55 pages, 72 exhibits, and more
21   than 100 footnotes (equating to at least half a dozen more single-spaced pages), elevated
22   relatively mundane discovery disputes to a new artform in an effort to malign Cognizant
23   and gain an advantage on the merits.
24         As depositions and other discovery have revealed, Plaintiffs face significant
25   challenges on the merits. Indeed, when this case finally reaches the class certification
26   stage, it will be clear that Plaintiffs cannot satisfy Rule 23’s requirements. Whether that
27   is the reason for Plaintiffs’ decision to continue to push this case towards a string of
28   discovery battles and a request to extend the schedule rather than proceeding to the
                                                 3
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1    merits, however, is beyond the scope of the present dispute; as are Plaintiffs’ unfounded
2    and hyperbolic allegations that attempt (in ways wholly unrelated to the present issue
3    before the Court, or even this case) to paint Cognizant monolithically as some bad actor.
4          Plaintiffs’ brand new focus on “margin optimization” as the now allegedly central
5    theory of their case makes this clear. This new focus happens to coincide with an
6    inadvertent and unfortunate error stemming from a typo in the name of a single
7    custodian—Sriram Rajagopal—a mistake that Cognizant discovered and promptly
8    disclosed. Based on that error, which resulted in the production of thousands of
9    documents from the wrong custodian (something Plaintiffs could have also caught),
10   Plaintiffs accuse Cognizant of collecting thousands of documents from the wrong
11   custodian on purpose. They also allege that, because Mr. Rajagopal’s documents are
12   not available (he left the company before Plaintiffs filed this lawsuit), Plaintiffs have
13   been prejudiced and cannot make their case regarding margin optimization. The facts
14   belie Plaintiffs’ contention. Plaintiffs had documents, discovery responses, and other
15   information concerning margin optimization well before Cognizant discovered the
16   custodian mix-up, yet they never once sought discovery on this issue; nor did they seek
17   discovery on margin optimization after disclosure of the custodian mix-up or seek Mr.
18   Rajagopal’s deposition. Indeed, there is not a single document request or interrogatory
19   specifically directed at so-called “margin optimization.” Tellingly, Plaintiffs deposed
20   the head of Talent Supply Chain just last month and did not ask a single question related
21   to margin optimization.
22         While Plaintiffs also point to several document collection glitches to claim that
23   custodial ESI was not properly preserved, many litigation holds were sent immediately
24   after this case was filed and others issued as soon as Cognizant became aware of an
25   individuals’ relevance to the case. With respect to the migration glitch (about which the
26   parties and the Court are already aware), Cognizant has worked diligently to resolve the
27   issue and provide additional documents from custodian .pst files. And, where the
28   Plaintiffs now complain concerning the scope of documents that should have been
                                                 4
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1    collected and produced for custodians, Cognizant is already proceeding to collect and
2    produce documents from custodian OneDrives and laptops. What is missing from all of
3    the noise Plaintiffs make concerning general custodial ESI, however, is any concrete
4    suggestion of what might have been lost, how it prejudiced them, or that there was any
5    intent to deprive them of the use of such materials. Under those conditions, sanctions
6    are unwarranted.
7          Discovery has not been perfect—on either side—and Cognizant owns the
8    imperfections in its discovery processes. When issues have arisen, however, Cognizant
9    has taken steps to address them and has been transparent with Plaintiffs about those
10   efforts. Despite Plaintiffs’ effort to string together the alleged “wrongs” committed by
11   Cognizant—including issues beyond the scope of this case—and cast Cognizant in the
12   most negative light possible, Plaintiffs have not established that they are entitled to the
13   extremely serious adverse inference jury instruction they seek. Certainly, there have
14   been discovery disagreements along the way, as occurs in most hard-fought litigation,
15   but hyperbole and speculation notwithstanding, Plaintiffs cannot reasonably dispute that
16   Cognizant has produced a massive amount of discovery and has affirmatively disclosed
17   and corrected issues as they have arisen.
18         The other issues Plaintiffs raise—the allegedly “late” production of arbitration
19   agreements and alleged improper communications with class members—are also
20   addressed below, in turn, but these issues are distinct from the core of this motion and
21   the primary relief that Plaintiffs seek.
22         Furthermore, Cognizant has already agreed to search for and produce additional
23   custodial ESI, thus mooting Plaintiffs’ request to compel production. And Plaintiffs’
24   request for additional time in the present joint stipulation is moot, as Plaintiffs have
25   indicated that they will request such further time from Judge Gee pursuant to Local Civil
26   Rule 7.
27         The Court should deny Plaintiffs’ motion for sanctions.
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                                                 5
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 1   II.   SPECIFICATION OF ISSUES IN DISPUTE
 2         The issues in dispute are: (1) whether Cognizant should be sanctioned for spoliating
 3   evidence in this case; (2) whether Cognizant should be sanctioned for providing false
 4   discovery certifications regarding the location and existence of relevant ESI; (3) whether
 5   Cognizant’s late production of arbitration agreements warrants Plaintiffs pursuing follow-
 6   up discovery on them; (4) whether Cognizant should be sanctioned for its improper and
 7   misleading communications with putative class members; and (5) whether Cognizant
 8   should be compelled to produce improperly withheld documents and to provide discovery
 9   related to such documents after they are produced.
10   III. PARTIES’ CONTENTIONS AND POINTS AND AUTHORITIES
11                A.     DISCOVERY MISCONDUCT SANCTIONS
12                Plaintiffs’ Position
13                a.     Facts
14   EEOC’s Investigation of Cognizant’s “Pattern or Practice of Discrimination”
15         On February 5, 2020, the Equal Employment Opportunity Commission (“EEOC”)
16   concluded a multi-year investigation into Cognizant’s employment practices by
17   determining that “Cognizant engaged in a nationwide pattern or practice of discrimination
18   against non-Indian applicants and employees.”2 The EEOC found that “since December
19   4, 2014, [Cognizant] discriminated against a nation-wide class of non-Indian applicants
20   by refusing to hire them on the basis of their race and national origin and against a nation-
21   wide class of non-Indian employees on the basis of race and national origin by removing
22   them from assignments that they were qualified for, refusing to assign them to new
23   projects, and terminating them when they remained unassigned.” Ex. 1 at 766.
24

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27           See Ex. 1 (letters of determination discussing finding of a pattern-or-practice of
     discrimination).
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                                                   6
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1          In early 2015, Cognizant introduced a “Margin Optimization” initiative that
2    involved increasing margins through workforce rationalization.8 Cognizant employs a
3    project-based employment model, where employees are initially hired for a specific client
4    project, and then are “benched” once their work on that project ends. 3d. Am. Compl. ¶
5    16 (Dkt. 146-1). From the “bench,” employees must find a new position on another
6    Cognizant client project through an application and interview process, just like external
7    applicants. Id. Per the Margin Optimization initiative, “Cognizant began to more
8    stringently enforce its policy and practice that an employee who has been without billable
9    work for some time is transferred to the Practice Deployment Pool (‘PDP’), colloquially
10   known as ‘the bench.’”9 Once benched, employees have five weeks to be placed in another
11   position within Cognizant before they are terminated.10
12         Cognizant’s Margin Optimization initiative led to an exponential increase in
13   individual and class-based EEOC charges filed by non-Indians,11 spanning geographically
14   dispersed and racially diverse victims that generally shared a commonality: Cognizant’s
15   preference for Indian nationals in employment decisions, with a particular point of
16   emphasis on Cognizant’s terminations of benched non-Indian employees, per the Margin
17   Optimization initiative. See id.
18         Morgan Lewis represented Cognizant before the EEOC with respect to both the
19   EEOC pattern and practice investigation and EEOC charges filed by former and existing
20   employees. In doing so, Morgan Lewis acknowledged in position statements submitted
21   to the EEOC (a) the relevance of the Margin Optimization initiative in increased
22

23         8
              Ex. 7 at 501 (noting the plan was designed to “become more profitable”); Ex. 8
24   at 2 (discussing “improvements” to Cognizant’s “Workforce Management Process”).
           9
25             Ex. 7 at 501.
           10
26              Id.
           11
27            See Pre-and-Post Margin Optimization Initiative EEOC Charge Filing Chart,
     attached as Ex. 9.
28
                                                 8
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1          Second, Cognizant had a similar duty to preserve documents related to each
2    individual discrimination charge filed with the EEOC.21 Preservation of Talent Supply
3    Chain documents were thus of critical importance. This is particularly true of Mr.
4    Rajagopal’s documents, given his role in overseeing the Talent Supply Chain’s dual
5    priorities (placing visa ready employees in U.S. roles and rationalizing non-Indians per
6    the Margin Optimization initiative).
7          Third, Plaintiffs’ class action lawsuit triggered document retention obligations.
8    When serving their complaint, Plaintiffs also served on Cognizant a document retention
9    letter setting forth Cognizant’s document retention responsibilities associated with the
10   complaint.22 All potentially relevant and discoverable documents were required to be
11   preserved.23
12         Finally, separate and apart from EEOC and federal court document retention
13   obligations, Cognizant was also required to preserve documents in connection with its role
14   as a federal contractor, including documentation of its compliance with Affirmative
15   Action Plan (“AAP”) requirements, documentation of good faith efforts, impact ratio
16   analyses, implementation of an internal audit and reporting system that tracks the degree
17   to which AAP goals are attained, identification of problem areas, identification and
18   execution of action-oriented programs, adverse impact records, and other documents. See
19

20         21
               See 29 C.F.R. § 1602.14 (“Where a charge of discrimination has been filed, or
21   an action brought by the Commission or the Attorney General, against an employer
     under title VII, the ADA, or GINA, the respondent employer shall preserve all personnel
22   records relevant to the charge or action until final disposition of the charge or the action.
23   The term “personnel records relevant to the charge,” for example, would include
     personnel or employment records relating to the aggrieved person and to all other
24   employees holding positions similar to that held or sought by the aggrieved person and
25   application forms or test papers completed by an unsuccessful applicant and by all other
     candidates for the same position as that for which the aggrieved person applied and was
26   rejected.”).
27         22
                See Ex. 17 (Plaintiffs’ Document Preservation Letter).
           23
28              See id. at 1-2.
                                                   12
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1    it collects an image of all documents stored on a server at a specific time, and also has
2    backups made of servers.34 Cognizant retains its server images and backups for five
3    years.35
4    Cognizant’s Discovery Misconduct
5          Plaintiffs first issued discovery requests to Cognizant on January 11, 2019 and the
6    parties exchanged Initial Disclosures on February 11, 2019.36 37
7          Sriram Rajagopal—the Talent Supply Chain lead overseeing Cognizant’s Margin
8    Optimization initiative and visa staffing efforts—was the very first Cognizant executive
9    Plaintiffs named in their Initial Disclosures after listing the Plaintiffs.38 Mr. Rajagopal
10   was not identified by name in Cognizant’s initial disclosures, but was certainly
11   encompassed within them, as Cognizant incorporated by reference “persons identified in
12   Plaintiffs’ initial disclosures.”39 From the outset, it was thus clear that Mr. Rajagopal
13   would be a critical witness in this case.
14         Despite Morgan Lewis’ identification of the central relevance of the Margin
15   Optimization initiative and the Talent Supply Chain Group to discrimination allegations
16   and despite Plaintiffs’ identification of Mr. Rajagopal as the first non-Plaintiff witness in
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           34
19              Ex. 28 57:23-58:4 (Fullerton 30(b)(6) Dep. Tr.).
           35
20             See id. 56:22-25 (“Based on my interview with Valerie, the senior manager in
     our litigation group, Cognizant maintains an image and backups for five years.”).
21         36
                See Ex. 29 (Pls.’ Initial Disclosures); Ex. 30 (Cognizant’s Initial Disclosures).
22         37
               The parties disputed Plaintiffs’ ability to pursue discovery in early 2019, as
23   Cognizant had filed on January 4, 2019 a second Motion to Dismiss directed only at
     Plaintiffs’ disparate impact claims that the Court had not yet decided. See Dkt. 48. The
24
     Court directed the parties to pursue only mutually agreed-upon discovery areas, such as
25   Initial Disclosures, until it decided Cognizant’s second motion to dismiss. See Dkt. 53
     at 2.
26
           38
                See Ex. 29 at 3.
27
           39
                See Ex. 30 at 4.
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                                                    15
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1    their initial disclosures, Cognizant has never issued a litigation hold notice—at any point
2    in time—to preserve his documents.40
3          Cognizant’s failure to issue a litigation hold on Mr. Rajagopal’s files was not the
4    only instance of Cognizant inexplicably failing to include Mr. Rajagopal on a list in what
5    appears to be an effort to shield his files from discovery. Prior to the parties finalizing
6    custodians, Cognizant sent Plaintiffs an Excel spreadsheet purporting to list “all
7    employees who worked at Cognizant from 2013 to the present and managed one or more
8    individuals” and Mr. Rajagopal’s name was nowhere to be found on that list despite his
9    indisputably senior role. Kotchen Decl. ¶ 1. Similarly, in a chart responding to Topic 2
10   of Plaintiffs’ 2019 Rule 30(b)(6) deposition notice purporting to list department heads of
11   seven departments—including Talent Supply Chain—from January 1, 2013 forward,
12   Cognizant omitted Mr. Rajagopal’s name.41 Cognizant later provided a chart listing the
13   supervisors of the department heads it listed in response to Topic 2, and again did not
14   name Mr. Rajagopal.42
15         In addition to failing to issue a litigation hold to Mr. Rajagopal, Cognizant did not
16   send out any litigation hold notices to any custodians in connection with EEOC charges,43
17   and waited until years after Plaintiffs filed their complaint to send litigation holds to
18   certain key custodians. For example, Cognizant waited until 2020 to send litigation holds
19   to either of the individuals in charge of Cognizant’s affirmative action program during the
20   class period (Keith Mitchell and Abigail Israel), individuals in Talent Supply Chain and
21   Global Talent (Anand Kabra and Carol Cohen), and the person in charge of Cognizant’s
22

23
           40
24              See Ex. 31 (Cognizant’s Litigation Hold List).
           41
25              See Ex. 32 at Topic 2.
           42
26              See Ex. 33 (Topic 2 Reporting Structure (Feb. 18, 2020)).
           43
27            See Ex. 34 at 1 (“Cognizant did not issue litigation holds for each of the
     individual plaintiffs’ EEOC charges.”).
28
                                                 16
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1    diversity efforts (Maureen Greene James).44 Cognizant will say that it did not send
2    litigation holds to those individuals until 2020 because that was when Plaintiffs sent an
3    official list of custodians, but the centrality of those individuals was clear well before that
4    point. See Kotchen Decl. ¶ 4.
5          Plaintiffs first grew concerned about document preservation issues on March 7,
6    2019, when Cognizant sent Plaintiffs a draft ESI Protocol inviting Plaintiffs to negotiate
7    the specific custodian files and ESI categories that Cognizant “should be” preserving. See
8    Id. ¶ 3. Upon filing their complaint in 2017, Plaintiffs had sent a document preservation
9    letter to Cognizant (Ex. 17), and if Cognizant had any questions as to which documents it
10   “should be” preserving, it should have raised the issue then. Plaintiffs were also aware of
11   the recent evidence tampering indictment involving Cognizant’s Chief Legal Officer and
12   CEO,45 which raised concerns about fidelity to evidentiary obligations.              Plaintiffs
13   expressed their document preservation concerns to Cognizant, and Cognizant responded
14   that it “has a litigation hold in place.”46 On March 12, 2019, Plaintiffs asked Cognizant
15   to provide “the specifics of the litigation hold, including to whom the hold was issued,
16   what it covers. . . . [and] how Cognizant has been handling document preservation and
17   production issues in connection with” other matters.47 Cognizant declined to provide this
18   information. See Kotchen Decl. ¶ 3.
19         On August 9, 2019, this Court denied Cognizant’s second motion to dismiss. Dkt.
20   58. On August 13, 2019, Plaintiffs issued a Rule 30(b)(6) deposition notice with topics
21         44
              See Ex. 31 (listing dates of litigation holds). Litigation holds were not placed
22   on Plaintiffs’ email boxes until 2019. Id. at 2, 4.
           45
23            See Press Release, DEPARTMENT OF JUSTICE, Former President and Former
     Chief Legal Officer of Publicly Traded Fortune 200 Technology Services Company
24
     Indicted in Connection with Alleged Multi-Million Dollar Foreign Bribery Scheme (Feb.
25   15, 2019), https://www.justice.gov/opa/pr/former-president-and-former-chief-legal-
     officer-publicly-traded-fortune-200-technology.
26
           46
                See Ex. 35 at 3 (Emails Between E. Dooley & D. Kotchen at 3 (Mar. 12, 2019)).
27
           47
                Id. at 1.
28
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1    concerning, among other things, Cognizant’s (a) regular document and data storage
2    locations and (b) steps Cognizant has taken to preserve documents.48 Cognizant declined
3    to participate in the deposition and instead provided Plaintiffs with a chart containing
4    responsive information.49 During an October 18, 2019 hearing, the parties addressed with
5    the Court whether Plaintiffs’ deposition should go forward or whether Plaintiffs should
6    accept Cognizant’s chart in lieu of a deposition.           Cognizant understood that the
7    information it provided to Plaintiffs would be used to “frame” Cognizant’s “document
8    collection,”50 and Plaintiffs made clear that they would use the information to discuss with
9    Cognizant the scope of its document production.51 After Cognizant represented during
10   the hearing that it filled out the chart “to the best of [its] ability,”52 the Court encouraged
11   Plaintiffs to accept the chart in lieu of pursuing a deposition.53 Plaintiffs agreed. The
12   Court then reminded the parties of their Rule 16 obligations in connection with
13   information sharing.54
14
           48
                See Ex. 36 at 2 (Pls.’ Rule 30(b)(6) Dep. Notice (Aug. 13, 2019)).
15
           49
              See Ex. 37 (Chart re Pls.’ 30(b)(6) Dep. Notice (Oct. 11, 2019)); Ex. 32 (Am.
16   Chart re Pls.’ 30(b)(6) Dep. Notice (Nov. 13, 2019)); Ex. 38 (Am. Chart re Pls.’ 30(b)(6)
17   Dep. Notice (Nov. 25, 2019)); Ex. 39 (Am. Chart re Pls.’ 30(b)(6) Dep. Notice (Dec. 13,
     2019).
18         50
              Hr’g Tr. 8:22-9:3 (Oct. 18, 2019) (“The 30 B6 notice listed eight topics that
19   were targeted at discovery. Things like what reports exist? Where does data reside?
20   What are the departments that might house the type of information, and documents that
     they want to collect. It wasn’t merits discovery. It’s really going towards framing the
21   issues of a document collection.”) (emphasis added).
           51
22           Id. 13:8-10 (“And this is information that we’re just trying to get so we can start
     engaging with [Cognizant] on the scope of production of documents and data.”)
23
           52
              Id. 9:18-21 (“We put the topics, the subtopics, you know, what are the
24
     databases, where are they located, and we filled it out to the best of our ability.”)
25         53
             Id. 16:12-13 (“Why don’t you use that chart as a springboard for discussion and
26   narrow it down.”)
           54
27            Id. 20:21-22 (“I just want to remind all the parties about their Rule 16
     obligations.”)
28
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1          In addition to the Rule 30(b)(6) deposition notice, Plaintiffs also issued an
2    interrogatory asking Cognizant to identify by name, location, and content each computer
3    system and electronic database used that related to employment, staffing, and visa issues.55
4    In response to these requests, Cognizant was obligated to disclose its use of shared drives,
5    such as OneDrive, SharePoint, or the z drive.
6          In both its Rule 30(b)(6) chart and interrogatory response, Cognizant identified
7    various programs in which Cognizant stores data, such as Taleo, Peoplesoft, GoPerform,
8    MyCareer, and MyVisa.56 But Cognizant omitted from these discovery responses any
9    reference to its use of shared drives.
10         When Plaintiffs took a Rule 30(b)(6) deposition in August 2021 on document
11   preservation, Cognizant failed to prepare the witness to testify about the use of shared
12   drives, and instructed the witness not to answer questions related to document collection
13   from shared drives. Ex. 38 38:5-16, 114:14-115:6; Dkt. 153.
14         Cognizant was required to disclose its use of shared drives because, for example,
15   Cognizant instructs employees to store “business records on OneDrive for Business,”57
16   delete business records from laptop hard drives once stored on OneDrive,58 and use
17   OneDrive link features available in Microsoft Office 365 email (as well as SharePoint
18   Online) to electronically transmit OneDrive files.59 A Cognizant executive recently
19   testified about Cognizant’s extensive OneDrive use, testifying that “[w]e are instructed
20         55
                See Ex. 40 at 19 (Cognizant’s Resps. to Pls.’ Interrogs., Set 1 at 19 (Aug. 30,
21   2019)).
           56
22              See Ex. 37 at 1-3; Ex. 40 at 10-12.
           57
23           See Ex. 22 at 854 (“Associates should safely store business records on OneDrive
     for Business. For more information visit the Be.Cognizant OneDrive site.”).
24
           58
            Id. at 855 (“You should then ensure the information is securely stored on
25   OneDrive and delete the information from your hard drive.”).
26         59
               Id. at 856 (“Make use of Cognizant authorized and provisioned Microsoft
27   Office 365 strategies such as OneDrive for Business and SharePoint Online for sharing
     large files internally.”).
28
                                                 19
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1          Cognizant’s explanation is also lacking because Plaintiffs specifically asked
2    Cognizant to supplement its 30(b)(6) chart by providing “complete information” on Topic
3    4, including by identifying its email server and “other servers containing responsive
4    documents.”64 On December 13, 2019, Cognizant updated its chart to indicate that
5    “Cognizant maintains emails and responsive documents primarily on Office 365” and
6    identified some on-premises email servers, but again, failed to disclose its use of
7    OneDrive, SharePoint, the z drive, and any other shared drive.65 The information provided
8    was not department-specific; it simply omitted Cognizant’s use of shared drives.
9          The parties then undertook the process of negotiating and agreeing upon a corpus
10   of custodians whose files Cognizant would search for responsive documents, using agreed
11   upon search terms. On February 24, 2020, Plaintiffs sent Cognizant a list of 33 custodians
12   (including all 23 that the parties ultimately agreed upon) and asked Cognizant to confirm
13   that it had “preserved the email boxes and files for these custodians.”66 Similar to
14   Cognizant’s response to Plaintiffs’ March 12, 2019 document preservation request,
15   Cognizant again elected not to identify whose files had been preserved. The process of
16   narrowing the list of 33 custodians was contentious, in large part because Cognizant
17   refused to share information about whose files it had preserved and whose it had not.67
18   The parties ultimately agreed that Cognizant would collect and search ESI for 23
19   custodians, one of whom was Sriram Rajagopal—the Talent Supply Chain lead who
20   oversaw Cognizant’s Margin Optimization initiative and visa staffing practices.68
21

22

23         64
                Ex. 44 (Email from L. Grunert to Cognizant at 1-2 (Oct. 21, 2019)).
           65
24              Ex. 39 at 22-25.
           66
25              See Ex. 45 at 2-3 (Email from L. Grunert to Cognizant (Feb. 24, 2020)).
           67
26              See Ex. 46 (Emails from L. Grunert and E. Dooley (June 24-July 2, 2020)).
           68
27            Id. at 3 (list of custodians, including Sriram Rajagopa[l], to which Keith
     Mitchell was later added).
28
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1    Cognizant in 2018 and had a similar name: Sriram Rajagopalan.73 Cognizant then
2    produced Mr. Rajagopalan’s documents and claimed they were in fact Mr. Rajagopal’s
3    documents.74 Cognizant disclosed its custodian substitution only after Plaintiffs identified
4    alarming document production irregularities and issued a Rule 30(b)(6) deposition notice
5    directed at document preservation and collection issues.75         By substituting out Mr.
6    Rajagopal as an agreed-upon ESI custodian and substituting in Mr. Rajagopalan,
7    Cognizant ensured that Plaintiffs would be deprived of critical discovery concerning
8    Cognizant’s Margin Optimization initiative and its visa staffing practices, both of which
9    Mr. Rajagopal oversaw and directed as the Talent Supply Chain lead.
10         There is ample evidence that substituting out Mr. Rajagopal was no accident or, at
11   the very least, the result of gross negligence, if not willfulness. For starters, Plaintiffs’
12   initial proposed list of ESI custodians specifically identified Mr. Rajagopal of the Talent
13   Supply Chain group.76 Cognizant initially opposed Mr. Rajagopal’s inclusion in two sets
14   of counterproposals and during two meet and confer calls. Kotchen Decl. ¶ 2; Ex. 46 at
15   15. On June 11, 2020, Plaintiffs challenged Cognizant as having no “good faith basis” for
16   excluding Mr. Rajagopal as an ESI custodian, and Cognizant thereafter agreed to include
17   Mr. Rajagopal on June 16, 2020.77 Given the extended negotiation leading to Mr.
18   Rajagopal’s inclusion as an ESI custodian, Cognizant clearly understood who he was and
19   his role at Cognizant when it ultimately agreed to include him.
20         In addition, before Plaintiffs identified document production irregularities in April
21   2021, Cognizant never sent a litigation hold to preserve files of either Mr. Rajagopal or
22         73
                See Ex. 47 (Email from E. Dooley to Pls. (July 22, 2021)).
23         74
              See Ex. 48 at 1 (“As noted by email yesterday, today, you will receive a link to
24   download a production that contains ESI from the PST files of fifteen of the twenty-
25
     three agreed-upon custodians—[including] . . . Sriram Rajagopa[l]”).
           75
                See Ex. 49 at Ex. 2 to Apr. 22, 2021 letter (Pls.’ Rule 30(b)(6) Dep. Notice).
26
           76
                See Ex. 29 at 3.
27
           77
                See Ex. 46 at 15, 21.
28
                                                    23
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1          Cognizant’s discovery misconduct has prejudiced Plaintiffs and the Court in at least
2    four distinct ways. First, documents from Mr. Rajagopal have been lost, as Cognizant
3    disclosed that his documents no longer exist.82 Cognizant will argue that the loss of Mr.
4    Rajagopal’s documents is not sanctionable because he resigned from Cognizant five
5    months before Plaintiffs filed this case (but six months after the named Plaintiffs’ filed
6    their EEOC charges and two years after the EEOC opened its pattern or practice
7    investigation). Cognizant continued to have a responsibility to preserve Mr. Rajagopal’s
8    documents, as Cognizant continued to have custody and control of his documents even
9    after his resignation. For example, by the time Plaintiffs filed their suit, Mr. Rajagopal’s
10   documents would have been (a) on Cognizant’s server unless immediately wiped, which
11   itself would be indicative of bad faith; (b) captured in server images, which are supposed
12   to be preserved for five years; and (c) captured in server backups, which are also supposed
13   to be preserved for five years. Cognizant’s argument that it need not preserve documents
14   of former employees like Mr. Rajagopal is belied by the fact that it issued in this case
15   litigation hold notices instructing its IT department to preserve the files of twenty former
16   employees, including each of the Plaintiffs, all of whom departed Cognizant well before
17   Mr. Rajagopal.83 Clearly Cognizant continues to possess and preserve documents of
18   former employees even after they depart. See, e.g., Ex. 31. But that did not happen for
19   Mr. Rajagopal.
20         Second, documents from other critical custodians were lost. By failing to interview
21   and collect files from custodians early in the discovery process (Cognizant waited until
22   August 2021 to interview custodians), Cognizant allowed the loss of ESI from computers
23   of most of the 23 agreed-upon custodians.84 Some custodians left Cognizant without
24
           82
25              See Ex. 47 (“Cognizant does not have documents for Mr. Rajagopal.”)
           83
26              See id.; Ex. 31 (Cognizant’s litigation hold list)
           84
27            See Ex. 51 (chart of production of documents by year and custodian); Ex. 52
     (chart of ESI lost from custodian laptops).
28
                                                  25
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1    have clearly been prejudiced. For example, even though the discovery period dates back
2    to 2013, 70% of the emails Cognizant has produced in this case were sent in 2018 or
3    later,90 after Plaintiffs filed suit and after Cognizant had consciously sanitized its written
4    communications to avoid language reflecting discriminatory intent. See Ex. 66 (June 4,
5    2020 e-mail stating that “we typically do not use any visa references in any written
6    communication.”).
7          Fourth, Cognizant has deprived Plaintiffs the right to structure and sequence
8    discovery in a manner that comports with fair due process. Had Cognizant disclosed to
9    Plaintiffs at discovery’s outset—as required in discovery certifications and disclosures—
10   Cognizant’s policy and practice of encouraging storing and sharing of documents via
11   shared drives and limiting the ability of custodians to send and keep documents on laptops,
12   Plaintiffs would have ensured Cognizant timely produced these available documents with
13   enough time for Plaintiffs to conduct follow-on discovery based on that production.
14   Instead, since Cognizant did not disclose its use of shared drives, Plaintiffs had to rely on
15   Cognizant to search and produce responsive information of these document repositories,
16   which Cognizant unilaterally decided not to do.
17         Perhaps the best indication of prejudice to Plaintiffs and the Court from Cognizant’s
18   discovery misconduct is reflected in how few documents Cognizant produced concerning
19   the Margin Optimization initiative’s design and implementation.            While Cognizant
20   produced 532 documents in this case that hit on the term “margin optimization,” it is clear
21   that this limited set of documents do not reflect the core of the communications and
22   documents that must have existed for this $300 million initiative. Most of the documents
23   produced contain merely ancillary references to the Margin Optimization initiative, such
24   as repeated references to a “marginoptimization” email address in documents, numerous
25   resumes, numerous presentations of people petitioning for promotions, a repeated weekly
26   call reference, and other passing or unenlightening references to the initiative. Kotchen
27
           90
28              See Ex. 51.
                                                27
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1    allows for sanctions “when a party destroys, significantly alters, or fails to preserve
2    evidence in pending or reasonably foreseeable litigation.” Oppenheimer v. City of La
3    Habra, No. SACV 16-00018 JVS (DFMx), 2017 WL 1807596, at *3 (C.D. Cal. Feb. 17,
4    2017); Fed. R. Civ. P. 37(e). “If electronically stored information that should have been
5    preserved in the anticipation or conduct of litigation is lost because a party failed to take
6    reasonable steps to preserve it, and it cannot be restored or replaced through additional
7    discovery, . . . the court: [] upon finding prejudice to another party from loss of the
8    information, may order measures no greater than necessary to cure the prejudice.” Fed.
9    R. Civ. P. 37(e).92 Further, “upon finding that the party acted with the intent to deprive
10   another party of the information’s use in the litigation,” the Court may “presume that the
11   lost information was unfavorable to the party,” “instruct the jury that it may or must
12   presume the information was unfavorable to the party,” or “enter a default judgment.”
13   Fed. R. Civ. P. 37(e)(2).
14         In addition, district courts have “the inherent discretionary power to make
15   appropriate evidentiary rulings in response to the destruction or spoliation of relevant
16   evidence” as part of their inherent power to manage their own affairs so as to achieve
17   the orderly and expeditious disposition of cases. Glover v. BIC Corp., 6 F.3d 1318, 1329
18   (9th Cir. 1993); Blumenthal Distrib., Inc. v. Herman Miller, Inc., No.
19   EDCV141926JAKSPX, 2016 WL 6609208, at *16–17 (C.D. Cal. July 12, 2016)
20   (“Having found spoliation of ESI, it is within the Rules and the court’s inherent power
21   to impose sanctions. Fed. R. Civ. P. 37(b)(2), (e)”). “Under either authority, sanctions
22   may issue when the aggrieved party shows that “(1) the party having control over the
23   evidence had an obligation to preserve it when it was destroyed or altered, (2) the
24   destruction or loss was accompanied by a culpable state of mind, and (3) the evidence
25         92
             The “‘applicable standard of proof for spoliation in the Ninth Circuit appears to
26   be by a preponderance of the evidence.’”                     Ramos v. Swatzell, No.
27
     EDCV121089BROSPX, 2017 WL 2857523, at *5 (C.D. Cal. June 5, 2017) (citation
     omitted) (finding it more likely than not that there was a failure to preserve).
28
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1    that was destroyed or altered was relevant to the claims or defenses of the party that
2    sought the discovery of the spoliated evidence.” Clear-View Techs., Inc. v. Rasnick, No.
3    5:13-CV-02744-BLF, 2015 WL 2251005, at *7 (N.D. Cal. May 13, 2015) (footnotes
4    omitted).
5          “A party’s destruction of evidence need not be in ‘bad faith’ to warrant a court’s
6    imposition of sanctions.” Napster, Inc. Copyright Litig., 462 F. Supp. 2d 1060, 1066
7    (N.D. Cal. 2006). “District courts may impose sanctions against a party that merely had
8    notice that the destroyed evidence was potentially relevant to litigation.” Id. (citations
9    omitted). “However, a party’s motive or degree of fault in destroying evidence is
10   relevant to what sanction, if any, is imposed.” Id. at 1066-67 (citations omitted).
11         While “[t]he Ninth Circuit has also yet to clearly articulate the degree of
12   culpability necessary to warrant an adverse inference instruction. . . . courts have found
13   that an adverse inference instruction may be warranted where the destruction was either
14   willful or grossly negligent.” Christoffersen v. Malhi, No. CV-16-08055-PCT-JJT,
15   2017 WL 2653055, at *5 (D. Ariz. June 20, 2017) (granting request for an adverse
16   inference based on gross negligence in case proceeding under Rule 37(e) and the court’s
17   inherent authority); Doe v. Bridges to Recovery, LLC, No. 2:20-CV-348-SVW, 2021
18   WL 4690830, at *15 (C.D. Cal. May 19, 2021) (ordering an adverse inference where
19   party’s “failure to preserve evidence was at least grossly negligent”); Surowiec v. Cap.
20   Title Agency, Inc., 790 F. Supp. 2d 997, 1008-09 (D. Ariz. 2011) (adverse inference
21   instruction based on a finding of gross negligence); In re Napster, Inc., 462 F. Supp. 2d
22   at 1078 (ordering adverse inference instruction where party’s destruction of evidence
23   amounted to “gross negligence, if not willfulness, which is sufficient culpability to
24   justify an adverse inference”).
25                      (ii)   False Certifications
26         Rule 26(g) “imposes an affirmative duty to engage in pretrial discovery in a
27   responsible manner,” and is “designed to curb discovery abuse by explicitly encouraging
28   the imposition of sanctions.” See Fed. R. Civ. P. 26(g) committee note to 1983
                                                30
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1    amendment. Under Rule 26(g), a signature on a discovery response is a certification
2    that that a disclosure is “complete and correct at the time it is made.” In making such a
3    certification, “the investigation undertaken by the attorney and the conclusions drawn
4    therefrom [must be] reasonable under the circumstances.” Ober v. Cty. of L.A., No. C
5    V 10-10032-DMG SHX, 2014 WL 2504504, at *7 (C.D. Cal. Mar. 27, 2014). If a party
6    later learns that a previous disclosure was incomplete or incorrect, it must take corrective
7    action in a timely manner. See Knudsen v. City & Cty. of San Francisco, No. 12-CV-
8    01944-JST, 2014 WL 295756, at *3 (N.D. Cal. Jan. 27, 2014).
9          Courts have recognized that Rule 26(g) extends to written correspondence about
10   discovery. United States v. Dish Network, L.L.C., No. 09-3073, 2015 WL 5970446, at
11   *11 (C.D. Ill. Oct. 13, 2015) (citing Phinney v. Paulshock, 181 F.R.D. 185, 204 (D.N.H.
12   1998)) (“An attorney’s letter to opposing counsel that makes representations about a
13   discovery production, . . . is subject to the requirements of Rule 26(g).”); Metro. Opera
14   Ass’n, Inc. v. Loc. 100, Hotel Emps. & Rest. Emps. Int’l Union, 212 F.R.D. 178, 221
15   n.28 (S.D.N.Y. 2003), adhered to on reconsideration, No. 00 CIV. 3613 (LAP), 2004
16   WL 1943099 (S.D.N.Y. Aug. 27, 2004) (citing Phinney, 181 F.R.D. at 203-04)
17   (“Sanctions may be imposed under Rule 26(g) for false statements in letters about
18   completeness of disclosure as well as in formal responses to document requests.”); see
19   also Legault v. Zambarano, 105 F.3d 24, 28 (1st Cir. 1997) (finding Rule 26(g) violated
20   where documents defendants failed to produce were in their possession and would have
21   been located if defendants had conducted a reasonable search).
22         The Court, “on motion or on its own, must impose an appropriate sanction on the
23   signer, the party on whose behalf the signer was acting, or both,” when a certification
24   violates Rule 26(g)(1) without substantial justification. Fed. R. Civ. P. 26(g)(3). “The
25   point of Rule 26(g) is to hold someone personally responsible for the completeness and
26   accuracy of discovery responses.” HM Elecs., Inc. v. R.F. Techs., Inc., No. 12CV2884-
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1    BAS-MDD, 2015 WL 4714908, at *13 (S.D. Cal. Aug. 7, 2015), vacated in part on
2    other grounds, 171 F. Supp. 3d 1020 (S.D. Cal. 2016).93
3          Moreover, pursuant to Local Rule 83-3.1, “[w]hen alleged attorney misconduct is
4    brought to the attention of the Court, . . . the Court may, in its discretion, dispose of the
5    matter through the use of its inherent, statutory, or other powers; refer the matter to an
6    appropriate state bar agency for investigation and disposition; refer the matter to the
7    Standing Committee on Discipline; or take any other action the Court deems
8    appropriate.” L.R. 83-3.1. “These procedures are not mutually exclusive.” Id.
9          Plaintiffs seek appropriate discovery sanctions against Cognizant because it has
10   repeatedly made false and misleading Rule 26(g) certifications without substantial
11   justification that have prejudiced the Plaintiffs’ and the putative classes’ ability to fully
12   prosecute their claims. Cognizant has falsely omitted its use of shared drives and has
13   deceptively chose not to include in its custodial production any non-email documents
14   and any custodial emails or documents stored in shared drives.
15                c.     Argument
16                       (i)    Cognizant Spoliated Evidence
17                       1)     Cognizant was on Notice of its Duty to Preserve
18         The duty to preserve evidence runs “from the moment that litigation is reasonably
19   anticipated.” Apple Inc. v. Samsung Elecs. Co., Ltd., 881 F. Supp. 2d 1132, 1136 (N.D.
20   Cal. 2012). Courts are clear that the duty to preserve evidence attaches even before
21   litigation is initiated. See Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982
22   F.2d 363, 369 (9th Cir. 1992) (upholding district court’s exclusion of plaintiff’s expert
23   testimony based on evidence destroyed by plaintiff two years before filing suit).
24   Evidence that a party actually foresaw litigation is also probative. See Waymo LLC v.
25   Uber Techs., No. C 17-00939, 2018 WL 646701, at *15 (N.D. Cal. Jan. 30, 2018). The
26   duty pertains to documents and information relevant to the claims or defenses of any
27         93
              The sanctions order in this case was later vacated as moot after the parties
28   settled. See HM Elecs., Inc., 171 F. Supp. 3d 1020, (S.D. Cal., Mar. 15, 2016).
                                                32
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1    party or prepared by individuals likely to have discoverable information, including
2    “those employees likely to have relevant information—the ‘key players’ in the case.”
3    Apple, 881 F.Supp.2d at 1137 (quotation omitted); see also In re Napster, Inc. Copyright
4    Litig., 462 F. Supp. 2d 1060, 1067 (N.D. Cal. 2006) (“[a]s soon as a potential claim is
5    identified; a litigant is under a duty to preserve evidence which it knows or reasonably
6    should know is relevant to the action.”) (quoting Zubulake v. UBS Warburg LLC, 220
7    F.R.D. 212, 216 (S.D.N.Y.2003).
8          Here, it is clear that a reasonable party in Cognizant’s circumstances would have
9    anticipated litigation at least as early as September 30, 2015 (the date of the
10   Commissioner Charge), as well as throughout 2016 and 2017 in connection with
11   numerous EEOC charge filings (including from the named Plaintiffs), and at the very
12   least when Plaintiffs filed their lawsuit on September 19, 2017. See Ex. 6; Ex. 9; see
13   also, e.g., Hamilton v. Signature Flight Support Corp., C 05-0490 CW (MEJ), 2005 WL
14   3481423, at *5 (N.D. Cal. Dec. 20, 2005) (finding that plaintiff’s previous complaint of
15   discrimination put defendant on notice of its duty to preserve); Montoya v. Orange Cty.
16   Sheriff’s Dep’t, No. SACV 11-1922 JGB, 2013 WL 6705992, at *8 (C.D. Cal. Dec. 18,
17   2013) (in action alleging discrimination, duty to preserve arose prior to commencement
18   of action, when plaintiff filed a workers’ compensation claim alleging injury resulting
19   from ongoing workplace harassment); Surowiec v. Capital Title Agency, Inc., 790 F.
20   Supp. 2d 997, 1005-06 (D. Ariz. 2011) (letter from third party warning that plaintiff
21   might sue sufficient to create a reasonable apprehension of suit).
22         Additionally, Cognizant’s retention of counsel in connection with EEOC charge
23   filings shows that it actually anticipated suit. Waymo LLC v. Uber Techs., No. C 17-
24   00939, 2018 WL 646701, at *15 (N.D. Cal. Jan. 30, 2018) (finding that defendant
25   “actually foresaw” litigation where it “consulted and retained [ ] litigation counsel to
26   obtain legal advice regarding potential liability exposure,” retained another firm to
27

28
                                               33
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1    perform “a due diligence investigation,” and then asserted privilege over such
2    activities).94
3           While Cognizant claims that it did not anticipate the “scope of this case” during
4    the EEOC investigations,95 this claim is not credibile. First, the EEOC was conducting
5    a pattern-or-practice investigation and at least one charging party made class-wide
6    allegations.96 Second, following its Margin Optimization initiative implementation,
7    Cognizant knew that its newly-enforced, margin-enhancing benching and termination
8    policy was leading to an exponential increase in EEOC discrimination charges –
9    including the charges filed by the named Plaintiffs in this case – as reflected by Morgan
10   Lewis’ representations to the EEOC. See Section III(A)(1)(a), supra. Cognizant thus
11   knew (or should have known) that Margin Optimization documents were required to be
12   preserved.       Finally, Cognizant did not impose any litigation holds prior to this
13   litigation.97
14                            2)   Cognizant Breached its Duty to Preserve
15          “Once a party reasonably anticipates litigation, it must suspend its routine
16   document retention/destruction policy and put in place a ‘litigation hold’ to ensure the
17   preservation of relevant documents.”           Zubulake, 220 F.R.D. at 218; see also
18   Oppenheimer, 2017 WL 1807596, at *3 (To comply with its duty to preserve, a party
19   must “‘suspend any existing policies related to deleting or destroying files and preserve
20   all relevant documents related to the litigation.’”) (citation omitted). Further, “the
21   implementation of a litigation hold is only the beginning of compliance with a party’s
22   discovery obligations, and [c]ounsel must oversee compliance ... [and] monitor[] the
23   party’s efforts to retain and produce the relevant documents.” Al Otro Lado, Inc. v. Wolf,
24
            94
             See also Zubulake, 220 F.R.D. at 216 (reasonable anticipation of suit existed
25
     where “the relevant people” recognized and discussed “the possibility” of a lawsuit).
26          95
                 Ex. 9 at 15 (Ltr. from K. Smith to Pls. (Nov. 9, 2021)).
27          96
                 See, e.g., Ex. 60 at 476 (alleging class-wide discriminatory practices).
            97
28               See Ex. 7.
                                                    34
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1    No. 317CV02366BASKSC, 2021 WL 631789, at *6 (S.D. Cal. Feb. 18, 2021) (citations
2    and quotation marks omitted). There is a “continuing obligation on parties to educate
3    themselves on their document storage[.]” City of Colton v. Am. Promotional Events,
4    Inc., No. CV0906630PSGSSX, 2011 WL 13223968, at *4 (C.D. Cal. Nov. 28, 2011);
5    Zubulake v. UBS Warburg LLC, 229 F.R.D. 422, 432 (S.D.N.Y. 2004) (“In short, it is
6    not sufficient to notify all employees of a litigation hold and expect that the party will
7    then retain and produce all relevant information. Counsel must take affirmative steps to
8    monitor compliance so that all sources of discoverable information are identified and
9    searched.”); Cache La Poudre Feeds, LLC v. Land O’Lakes, Inc., 244 F.R.D. 614, 630
10   (D. Colo. 2007) (noting that although the party implemented a litigation hold shortly
11   after litigation was commenced, counsel did not properly supervise whether the hold led
12   to complete document production). When parties are sophisticated about ESI and are
13   represented by counsel, they are held to a higher standard of reasonableness in their
14   preservation effort. Fed. R. Civ. P. 37(e) committee note to 2015 amendment.
15         Here, Cognizant acted unreasonably in multiple respects. First, Cognizant never
16   sought to preserve Mr. Rajagopal’s documents.
17
           Second, Cognizant waited to send out litigation holds to a subset of custodians on
18
     September 27, 2017, and for other custodians (including senior personnel in key
19
     departments) waited to send litigation holds until 2019, 2020, and even 2021. See Ex.
20
     31; see also Wolf, 2021 WL 631789, at *6 (“failure to timely issue a hold notice to [a
21
     senior person] is an independent breach of their duty of preservation, because it was
22
     incumbent upon defendants’ senior personnel to ‘communicate’ the organization’s
23
     preservation obligations ‘to employees in possession of discoverable materials.’”).
24
           Even after implementing a litigation hold, Cognizant did not suspend server size
25
     limits and did not alter its policy of encouraging employees to delete emails. See Ex. 20
26
     at Ex. A; Ex. 18 at 2; Ex. 22 at 1; Ex. 34 at 1; cf. Apple Inc. v. Samsung Elecs. Co., 888
27
     F. Supp. 2d 976, 996-97 (N.D. Cal. 2012) (party “destroyed documents after its duty to
28
                                               35
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1    preserve had already arisen” where party did not immediately send a litigation hold
2    notice to certain custodians, and “[d]uring that time . . . some employees may have been
3    encouraged to keep the size of their email accounts below certain limits, and moreover
4    may have received automatic notices requesting that they reduce the size of their email
5    accounts.”). Those custodians that did not delete emails stored emails that did not fit on
6    servers on their hard drives, from which Cognizant failed to collect. See Ex. 21 at 14.
7          Third, Cognizant “failed to conduct timely custodian interviews[;] [a]s a result . .
8    . key repositories of ESI were left unidentified, and substantial data was lost.” Small v.
9    Univ. Med. Ctr., No. 2:13-CV-0298-APG-PAL, 2018 WL 3795238, at *18 (D. Nev.
10   Aug. 9, 2018) (imposing adverse inference instruction and monetary sanctions where,
11   inter alia, failure to conduct timely custodian interviews violated “the legal obligation
12   to identify, locate, maintain and produce information relevant to specific, predictable,
13   and identifiable claims and defenses”); Ex. 34 at 1 (admitting that “Cognizant did not
14   conduct custodian interview regarding the ESI being collected” prior to August 2021
15   interviews).
16         Finally, Cognizant failed to collect non-emails from shared drives and hard drives
17   despite representing that it would produce non-email files, and did not attempt to collect
18   lost emails from backup tapes.98 Any one of these failures would constitute a breach of
19   Cognizant’s duty to preserve and to oversee compliance with its litigation hold and
20   document production.
21
                        3)     Plaintiffs Have Suffered Prejudice from the Loss of
22
                               Critical Evidence
23
           98
24            Courts have recognized that the duty to preserve may apply to backup tapes.
     U.S. ex rel. Guardiola v. Renown Health, No. 3:12-CV-00295-LRH, 2015 WL 5056726,
25
     at *12 (D. Nev. Aug. 25, 2015). (“no format is inaccessible per se”); Victor Stanley, Inc.
26   v. Creative Pipe, Inc., 269 F.R.D. 497, 524 (D. Md. 2010); Zubulake v. UBS Warburg
27
     LLC, 220 F.R.D. 212, 220 (S.D.N.Y. 2003) (“[Defendant] had – and breached – a duty
     to preserve the backup tapes at issue.”).
28
                                               36
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1          “If spoliation is shown, the burden of proof shifts to the guilty party to show that
2    no prejudice resulted from the spoliation[.]” Zest IP Holdings, LLC v. Implant Direct
3    Mfg., LLC, No. CIV. 10-0541-GPC WVG, 2013 WL 6159177, at *9 (S.D. Cal. Nov. 25,
4    2013). A party suffers prejudice from a failure to preserve evidence where it is deprived
5    of documents that would have been “probative to the claims at issue in th[e] litigation.”
6    See Apple, 888 F.Supp.2d at 998 (finding prejudice due to deletion of emails from “key
7    custodians”); see also 4DD Holdings, LLC v. United States, 143 Fed. Cl. 118, 132 (Fed.
8    Cl. 2019) (“Prejudice may appear in many forms, such as [] being ‘unable to fully
9    respond to the secondary evidence’ or being required to go to great lengths in discovery
10   to fill in the gaps in the evidence.”); Oppenheimer, 2017 WL 1807596, at *12 (finding
11   prejudice where defendant failed to preserve documents related to Plaintiffs “[b]ecause
12   the electronic information can no longer be recovered, Plaintiffs have lost the ability to
13   present potentially relevant information”).
14         The Ninth Circuit has “repeatedly” rejected the argument that “[b]elated
15   compliance” precludes the imposition of sanctions. Lee v. Walters, 172 F.R.D. 421, 428
16   (D. Or. 1997) (citing N. Am. Watch Corp. v. Princess Ermine Jewels, 786 F.2d 1447,
17   1451 (9th Cir. 1986); Henry v. Gill Indus., Inc., 983 F.2d 943, 947 (9th Cir. 1993); G–K
18   Properties v. Redevelopment Agency of City of San Jose, 577 F.2d 645, 647–48 (9th Cir.
19   1978) (“last minute tender of discovery does not cure effects of discovery misconduct”)).
20   The question is whether it is “more likely than not that [Cognizant’s] failure to preserve
21   ESI deprived [Plaintiffs] of evidence relevant to a party’s claim or defense.”
22   Blumenthal, 2016 WL 6609208, at *16. Courts consider whether the “failure to provide
23   documents and information in a timely fashion prejudiced the ability of [the movants]
24   to prepare their case[.]” Id.
25         The cumulative effect of Cognizant’s failure to implement appropriate litigation
26   holds and to preserve documents from identified custodians is that a significant number
27   of relevant documents have been lost, including documents from critical custodians and
28   a critical time period, such as the Margin Optimization documents and documents from
                                                37
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1    Mr. Rajagopal. See Ex. 51; Ex. 52. In addition, Plaintiffs have been deprived in this
2    case of the opportunity to fairly sequence and structure discovery, including by the
3    belated production of documents. See id; Currin v. Presidio Networked Sols. Grp., LLC,
4    No. 3:16-CV-02177-BR, 2018 WL 4825184, at *6-7 (D. Or. Oct. 4, 2018) (“the last-
5    minute production of volumes of relevant material after numerous extensions of time to
6    complete fact discovery has obviously prejudiced Defendants’ ability to defend the
7    claims asserted against them and to prosecute their Counterclaim on the current, already-
8    extended case-management schedule.”). For example, had discovery been appropriately
9    conducted in the first instance, Plaintiffs would have had the opportunity to fully explore
10   Mr. Rajagopal’s communications and files concerning the Margin Optimization
11   initiative as well as other probative evidence that had a nexus to the exponential increase
12   in discrimination charges filed against Cognizant—all of which would have materially
13   impacted this case’s witnesses, strategic direction, and evidentiary foundation. As it
14   stands, Plaintiffs now must compile their case largely from documents created well after
15   this suit was filed and after Cognizant started sanitizing written communications to mask
16   discriminatory intent.
17
                         4)    Cognizant’s Loss of Evidence was Intentional or, At the
18
                               Very Least, Grossly Negligent
19
           “A party’s destruction of evidence need not be in ‘bad faith’ to warrant a court’s
20
     imposition of sanctions.” In re Napster, Inc., 462 F. Supp. 2d at 1066 (citations omitted).
21
     “District courts may impose sanctions against a party that merely had notice that the
22
     destroyed evidence was potentially relevant to litigation.” Id. (citations omitted).
23
     “However, a party’s motive or degree of fault in destroying evidence is relevant to what
24
     sanction, if any, is imposed.” Id. at 1066-67 (citations omitted).
25
           Here, the circumstances of Cognizant’s loss of relevant documents show an intent
26
     to deprive Plaintiffs of the use of those documents. See Blumenthal, 2016 WL 6609208,
27
     at *17-19 (finding party acted willfully and in bad faith even though it was unclear from
28
                                                38
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1    the record whether someone intentionally or unintentionally deleted the relevant emails
2    after the party failed to implement a litigation hold, had control over relevant evidence
3    and a duty to preserve it, and misrepresented and delayed searches for the ESI); Moody
4    v. CSX Transportation, Inc., 271 F. Supp. 3d 410, 431-32 (W.D.N.Y. 2017) (finding
5    intent where defendant made no effort over the course of years to preserve relevant
6    documents, including because “defendants’ repeated failure over a period of years to
7    confirm that the data had been properly preserved . . . is so stunningly derelict as to
8    evince intentionality”); Currin, 2018 WL 4825184, at *6 (“The Court notes Plaintiff
9    argues the fact that she ultimately produced emails and text messages after she learned
10   they had not been produced negates any conclusion that she engaged in purposeful
11   misconduct. On this record, however, the Court concludes the irresponsible inattention
12   of Plaintiff and/or her counsel toward Plaintiff’s obligation to provide complete
13   discovery of materials of which she was fully aware are ‘tantamount to bad faith.’”)
14   (citing Fink v. Gomez, 239 F.3d 989, 994 (9th Cir. 2001)).
15          Cognizant’s intent is most clear with respect to its failure to preserve Mr.
16   Rajagopal’s documents. Cognizant still has not imposed a litigation hold on his
17   documents as of this filing, and has provided no explanation for why his documents no
18   longer exist, or when they became lost. Its explanation for not imposing a litigation
19   hold—because he left the company prior to this litigation—is a clear ruse because
20   Cognizant has imposed litigation holds on many other former employees.
21          Further demonstrating bad faith, since Cognizant’s failures have been brought to
22   light, it has made no effort to mitigate damage and has fought Plaintiffs’ efforts to obtain
23   and make use of the belatedly-produced evidence at every step, including contesting an
24   extension of the fact discovery deadline, Dkt. 155, resisting a 30(b)(6) deposition to
25   learn information about same, under-preparing its 30(b)(6) witness when such
26   deposition was compelled, Dkt. 155, and then claiming it was too late for Plaintiffs to
27   raise issue with these collection issues because Cognizant had run out the clock. Dkt.
28   175.
                                                39
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1                        5)     Sanctions up to and Including an Adverse Inference are
2                               Warranted
3          The choice of sanctions rests with the discretion of the district court. United States
4    v. Sumitomo Marine & Fire Ins. Co., 617 F.2d 1365, 1369 (9th Cir. 1980). Here,
5    Cognizant’s spoliation of documents warrants an adverse inference, and Plaintiffs
6    therefore seek a jury instruction that Cognizant failed to preserve or produce documents
7    from Mr. Rajagopal and other document custodians, so the jury may presume those
8    documents would have been harmful to Cognizant. Plaintiffs also seek monetary
9    sanctions.
10         “An adverse inference instruction may be appropriate where a party’s bad faith or
11   gross negligence has resulted in either the spoliation of evidence or failure to turn over
12   relevant evidence.” Karnazes v. Cty. of San Mateo, No. C 09-0767 MMC (MEJ), 2010
13   WL 2672003, at *2 (N.D. Cal. July 2, 2010); In re Napster, Inc., 462 F. Supp. 2d at 1078
14   (ordering adverse inference instruction where party’s destruction of evidence amounted
15   to “gross negligence, if not willfulness, which is sufficient culpability to justify an
16   adverse inference”).99
17         Further, the circumstances of Cognizant’s loss of relevant documents show an
18   intent to deprive Plaintiffs of the use of those documents such that an adverse inference
19   is warranted. See Apple, 881 F.Supp.2d at 1150 (finding adverse inference instruction
20   was the appropriate sanction where defendant “did not [] suspend” an automatic
21   document destruction policy and as a result deleted documents from “key custodians”
22   whose emails would have been “especially probative to the claims at issue”); Zest, 2013
23
           99
24             There are three levels of instructions generally considered: (1) “when a
     spoliating party has acted willfully or in bad faith, the jury can be instructed that certain
25
     facts are deemed admitted and must be accepted as true”; (2) “when a spoliating party
26   has acted willfully or recklessly, a court may impose a mandatory presumption”; and (3)
27
     the least harsh instruction “permits (but does not require) a jury to presume that the lost
     evidence is both relevant and favorable to the innocent party.” Apple, 881 F. Supp. 2d
28   at 1150 (citation omitted).
                                                40
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1    WL 6159177, at *9 (recommending an adverse inference instruction where, because
2    defendant did not implement a litigation hold, “Plaintiff is now forced to go to trial while
3    relying on incomplete evidence.”).
4          Finally, curing the prejudice requires awarding Plaintiffs the fees and costs caused
5    by Cognizant’s misconduct (including those associated with filing this motion, and
6    additional discovery required because of the misconduct).
7
                         6)     Alternatively, or in Addition, Cognizant Should be
8
                                Compelled to Produce Forensic Images and Backups
9
           Alternatively, or in addition to the above remedies, Plaintiffs seek an order
10
     requiring Cognizant to produce forensic images of servers and devices on which
11
     custodians (including Mr. Rajagopal) stored potentially responsive ESI for expert
12
     analysis pursuant to a protective protocol.100 If the Court does not believe that there is
13
     enough evidence to impose sanctions, expert analysis of forensic images will enable
14
     Plaintiffs to discover the precise causes of lost information, whether document
15
     destruction was intentional or reckless, and whether any deleted information can in fact
16
     be recovered.
17
           Under the circumstances, such discovery is appropriate. When a party fails to
18
     preserve potentially relevant ESI, courts routinely grant discovery regarding the
19
     circumstances surrounding such failures to preserve, including ordering forensic
20
     examinations to determine how a loss occurred and whether deleted data can be
21
     recovered. Currin, 2018 WL 4825184, at *7 (ordering forensic inspection of electronic
22
     devices after finding that the plaintiff’s “irresponsible inattention” to discovery
23
     obligations was “tantamount to bad faith”); Ascar v. U.S. Bank, N.A., No. 2:13-cv-
24

25         100
               Specifically, Plaintiffs seek an order requiring Cognizant to comply with
26   Request No. 42 (issued in discovery) and produce a forensic image of: server backup
27
     tapes containing documents created or stored by custodians; custodian laptops; and any
     other devices still in existence used by custodians to create or store documents. See Ex.
28   61 at Req. No. 42 (Pls.’ Sixth Set of RFPs).
                                                41
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1    07496, 2014 WL 12639926, at *1 (C.D. Cal. Sept. 25, 2014) (ordering production of a
2    phone, hard drive, and any other relevant electronic devices to opposing counsel for
3    forensic   inspection);   Roadrunner      Transp.    Servs.,   Inc.     v.   Tarwater,   No.
4    SACV101534AGMLGX, 2012 WL 12918345, at *2 (C.D. Cal. Aug. 5, 2012) (noting
5    that the magistrate judge ordered the defendant to produce laptops to a third-party
6    information technology expert for forensic imaging); Bryant v. Mattel, Inc., No. C 04-
7    09049 SGL RNBX, 2007 WL 5416681, at *10 (C.D. Cal. Jan. 26, 2007), enforcement
8    granted in part, denied in part, No. CV 04-09049 SGLRNBX, 2007 WL 5430887 (C.D.
9    Cal. June 20, 2007) (ordering party to produce the hard drives of his computers for
10   forensic imaging.); Garrison v. Ringgold, et al., No. 19cv244-GPC(MSB), 2020 WL
11   6537389, at *2 (S.D. Cal. Nov. 6, 2020) (discussing magistrate judge’s order that the
12   defendant to produce his computers for inspection by a “forensic computer expert”).
13   Forensic inspections of devices are appropriate where “serious questions exist both as to
14   the reliability and the completeness of materials produced in discovery.” Advante Int’l
15   Corp. v. Mintel Learning Tech., 2006 WL 3371576, at *1 (N.D. Cal. Nov. 21, 2006).
16         These courts have recognized that discovery about preservation efforts may be
17   necessary to determine what remedies are appropriate under Fed. R. Civ. P. 37(e).
18   CrossFit, Inc. v. Nat’l Strength & Conditioning Ass’n, No. 14CV1191 JLS (KSC), 2017
19   WL 2298473, at *6 (S.D. Cal. May 26, 2017) (ordering the plaintiff to “commission a
20   neutral forensic analysis of [the defendant’s] servers” to determine whether terminating
21   sanctions were appropriate); Blumenthal, 2016 WL 6609208, at *16-17 (where “forensic
22   searches of the individual hard drives undertaken by [party’s] experts” showed that other
23   party’s “failure to preserve . . . resulted in the loss of some emails,” the court found that
24   sanctions for spoliation were appropriate). Rule 37(e) makes remedies available for the
25   loss of data if it was caused by a failure to take reasonable steps to preserve, if the lost
26   ESI cannot “be restored or replaced through additional discovery,” and makes harsher
27   remedies available if the destroying party “acted with the intent to deprive another party
28   of the information’s use in the litigation[.]” Fed. R. Civ. P. 37(e).
                                                42
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1          Plaintiffs should be allowed access to the hard drives and server backups so that
2    they can have a forensic expert determine whether any files can be recovered from those
3    areas. Net-Com Servs., Inc. v. Eupen Cable USA, Inc., No. CV 11-2553 JGB (SSX),
4    2013 WL 12131178, at *4 (C.D. Cal. July 11, 2013) (ordering production of hard drives
5    to third party vendor for forensic analysis to determine “whether any or all of the files
6    on the hard drives are recoverable”); Fed. R. Civ. P. 37(e) committee note to 2015
7    amendment (“the initial focus should be on whether the lost information can be restored
8    or replaced through additional discovery”).
9          Cognizant has expressed concerns about intrusiveness (despite the fact that it is
10   similarly seeking a Court order for forensic images in its lawsuit against Mr. Franchitti
11   and Mr. Piroumian). Plaintiffs addressed these concerns by proposing to Cognizant that
12   the parties enter into a stipulation pursuant to FRE 502(d) that would allow Plaintiffs to
13   retain an expert to perform an analysis of the forensic images to assess the document
14   destruction and whether information is in fact recoverable, without any waiver of
15   privilege. Such a stipulation would prevent Plaintiffs from actually viewing any
16   recovered documents until ordered by the Court or agreed to by Cognizant.101
17         Federal Rule of Evidence 502(d) states that “[a] federal court may order that the
18   privilege or protection is not waived by disclosure connected with the litigation pending
19   before the court — in which event the disclosure is also not a waiver in any other federal
20   or state proceeding.” Fed. R. Evid. 502(d); see also Advante Int’l, 2006 WL 3371576, at
21   *1 (ordering forensic inspection pursuant to a protocol to protect privilege and privacy
22   concerns). Accordingly, Plaintiffs respectfully request an order that, pursuant to Fed. R.
23   Evid. 502(d), any inadvertent disclosure or production of any documents or information
24   as a result of Cognizant’s production of forensic images in this proceeding shall not
25         101
               In the alternative, Plaintiffs are amenable to the Court appointing a neutral
26   forensic inspector. See, e.g., WeRide Corp. v. Kun Huang, No. 5:18-CV-07233-EJD,
27
     2020 WL 1967209, at *3 (N.D. Cal. Apr. 24, 2020) (noting that the magistrate judge
     “ordered the appointment of a neutral forensic inspector” and “a special master to
28   resolve any disputes related to [the forensic inspector’s investigation.”)
                                               43
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1    constitute a waiver by Cognizant of any privilege or protection applicable to those
2    documents or ESI, including the attorney-client privilege, work product protection, and
3    any other privilege or protection recognized by law.
4                        (ii)   Cognizant Provided False Certifications
5          While Cognizant was certainly aware that it used its OneDrive and other shared
6    drives to store emails and other ESI, it has failed to disclose that information, over
7    multiple years, even in response to multiple direct requests from the Plaintiffs for that
8    information, and even after Plaintiffs clarified the information they were seeking.
9          Cognizant not only failed to disclose its use of shared drives to store relevant ESI,
10   but it unilaterally and surreptitiously chose not to collect custodial emails and other non-
11   email documents saved on that server, even after Plaintiffs raised issue with irregularities
12   and lost ESI from Cognizant’s collection of emails from its Office 365 server. While
13   Cognizant has claimed that both sides understood that it was limiting its custodial
14   document collection to emails (which Plaintiffs dispute), the Court has already rejected
15   this argument. Dkt. 180 at 9 (“While defendants may have somehow thought they could
16   limit their document collection efforts to email collection and production, there was no
17   reason for plaintiffs to question whether Cognizant had been searching separately for
18   non-email ESI from locations known only to defendants at that time, such as
19   OneDrive.”). Additionally, Cognizant’s claims is undercut by its direct representation
20   to the Court that its production of custodian ESI would include documents as well as
21   emails:
22         With respect to production of custodian ESI, which would include
23         relevant, non-privileged emails of the custodians selected as well as
           documents maintained electronically and within their possession,
24         custody, and control, Plaintiffs contend ‘Cognizant has proposed
25         completing its production of data and documents by October 15.’
26   Dkt. 80, at 44 (emphasis added).
27         While Cognizant has argued that Plaintiffs should have divined the limits of its
28   document collection efforts from its May 18, 2021 correspondence, see Dkt. 185 at 5-6,
                                                 44
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1    this is not a defense to Cognizant making an incomplete production under Rule 26(g).
2    Additionally, Cognizant’s response to topic four in its May 18, 2021 letter did not track
3    the full breadth of the topic, see Ex. 62,102   103
                                                           so Cognizant’s failure to affirmatively
4    describe it efforts to collect non-email ESI was not tantamount to a disclosure that it was
5    excluding non-email ESI.        Regardless, Plaintiffs did not respond to the letter by
6    acquiescing or accepting Cognizant’s statements, but moved forward with its request to
7    depose a Rule 30(b)(6) witness on those topics. After that deposition was ordered,
8    Cognizant then wrongfully instructed the deponent not to provide any information about
9    Cognizant’s document collection.104
10         As a result of Cognizant’s failure to disclose its use of the OneDrive or other shared
11   drives and unilateral decision not to collect non-email ESI or any type of files stored on
12   the shared drives they had concealed, Plaintiffs will suffer significant prejudice without
13   an appropriate remedy. Although this Court has recognized that Cognizant had an
14   obligation to collect and produce ESI from its OneDrive and non-email ESI, the final
15   discovery cut-off is December 15, 2021, see Dkt. 163, and Cognizant still has not done so.
16   Kotchen Decl. ¶ 5. Cognizant’s Rule 26(e) violations have prejudiced Plaintiffs because
17   they have been “deprived . . .of the opportunity to use the documents at issue prior to the
18   close of discovery to uncover additional information to support [their] claims.” Knudsen
19   v. City & Cnty. of S.F., No. 12-cv-01944-JST, 2014 WL 295756, at *5 (N.D. Cal. Jan. 27,
20   2014).
21

22         102
               The May 18, 2021 letter followed a May 13, 2021 meet and confer where
23   Cognizant first disclosed that the reason for document production irregularities was
     Cognizant’s migration to Office 365, so it was reasonable to read Cognizant’s response
24   as directed towards its collections of emails specifically.
25         103
               For example, Cognizant’s letter did not directly respond to Plaintiffs’ request
26   for information about who was involved in document collection efforts. Plaintiffs did
     not read this incomplete response and omission to imply that no one at Cognizant was
27   involved. See id.
           104
28               Ex. 28 65:3-69:2, 97:5-11.
                                                 45
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 1   November 10, 2021 to produce documents from available laptops and OneDrive folders
 2   used by custodians.105 Notwithstanding Cognizant’s agreement, Plaintiffs seek an order
 3   to compel because Cognizant should also be required to search other shared drives used
 4   by Custodians to store and share documents, such as SharePoint and the “Z drive.”
 5   Additionally, Cognizant has resisted collecting or producing these documents until the
 6   eleventh hour of Plaintiffs’ deadline to seek appropriate relief, so it is appropriate to
 7   compel that production at this time.
 8         Since Cognizant has not yet produced non-email ESI and from shared drives, and
 9   the discovery deadline is rapidly approaching, Plaintiffs also request an extension of the
10   case schedule to permit discovery related to belatedly-produced documents, so that they
11   will have some opportunity to conduct discovery based on those documents.
12         Finally, Plaintiffs also seek attorneys’ fees and costs caused by Cognizant’s Rule
13   26(g) violations, as is expressly authorized by that rule. See Fed. R. Civ. P. 26(g)(3)
14   (stating that court “must impose an appropriate sanction[,]” which “may include . . .
15   attorney’s fees, caused by the violation”).
16                  Defendants’ Position
17                  a.    Background
18         Discovery has not been perfect on either side—Plaintiffs themselves engaged in
19   some of the conduct they now fault Defendants for, and not every bit of discovery has
20   gone smoothly on Cognizant’s side. Cognizant has, contrary to Plaintiffs’ assertions,
21   however, sought to identify and remedy issues when they have arisen. For example, as
22   soon as Plaintiffs identified the production irregularities by year between custodians,
23   Cognizant immediately investigated, discovered the migration glitch, continuously kept
24   Plaintiffs apprised of its efforts to obtain .pst (email) files from custodian laptops, and
25   produced additional emails from those laptops. And the centerpiece of Plaintiffs’
26   allegations concerning lost or allegedly destroyed evidence—the inadvertent
27
           105
28               Ex. 63 (Ltr. from M. Maryott to Pls. (Nov. 10, 2021)).
                                                 47
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1    substitution of Sriram Rajagopalan for Sriram Rajagopal in document collection and
2    production—was something Cognizant identified and brought to Plaintiffs’ attention
3    several months ago, in July 2021, as soon as it realized the error. Pls. Ex. 47.
4          Nevertheless, Plaintiffs present two requests for sanctions: (1) an adverse
5    inference jury instruction under Rule 37 as a result of the alleged loss of documents or
6    evidence concerning “margin optimization”; and (2) discovery sanctions under Rule
7    26(g), including compelling production of further non-email custodial ESI (most of
8    which Cognizant has already agreed to produce), extending the case schedule to allow
9    Plaintiffs to take discovery as to late-produced documents (which is a request they also
10   intend to make to Judge Gee), and monetary sanctions. Plaintiffs’ request for an adverse
11   inference jury instruction should be denied because they cannot demonstrate either the
12   requisite intent regarding alleged spoliation or the prejudice they have allegedly suffered
13   as a result. In the instant motion, they argue that they are prejudiced by a loss of evidence
14   concerning a margin optimization initiative in that began in 2015.              Despite the
15   purportedly now-central role of “margin optimization” in their case, they: (1) never
16   issued a specific interrogatory or request for production of documents (“RFPs”)
17   concerning margin optimization; (2) never asked Venugopal Padmanabhan, whom they
18   deposed in October and who has held a variety of roles relating to talent supply since
19   2011 and currently serves as Vice President of Talent Supply Chain, a single question
20   about margin optimization during his deposition; and (3) never mentioned the phrase
21   margin optimization once in the nine-page, single-spaced Rule 37 letter that they sent to
22   Cognizant teeing up the issues in this joint stipulation just two weeks ago, see Maryott
23   Decl., Ex. 3. Indeed, they did not raise margin optimization until after Cognizant
24   responded to that Rule 37 letter and noted that, “[p]utting aside for the moment your
25   unfounded assumption that relevant material has been lost or destroyed, your letter does
26   not articulate how Plaintiffs’ ‘ability to go to trial’ has been impaired or ‘the rightful
27   decision of the case’ has been threatened. Nor have Plaintiffs articulated any ‘plausible,
28   concrete suggestions’ about what the supposedly lost information ‘might have been.’”
                                                48
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1    Maryott Decl., Ex. 4 at p. 12. This is consistent with the fact that margin optimization
2    initiatives at Cognizant are not secretive, discriminatory policies. Plaintiffs boldly posit
3    that “Cognizant’s Margin Optimization initiative led to an exponential increase in
4    individual and class-based EEOC charges filed by non-Indians,” (J.S. at p. 8) but the
5    exhibit they cite in support of that proposition, Plaintiffs’ Exhibit 9, merely contains
6    excerpts from several EEOC charges and the charges themselves. Margin optimization
7    initiatives at Cognizant are far more mundane than Plaintiffs suggest—they may take
8    many forms, but as the name suggests, all are broadly designed to improve the
9    Company’s financial health. See generally Padmanabhan Decl. ¶¶ 3-4. The type of
10   initiative that Plaintiffs appear to be raising is one that involves ensuring that projects
11   are appropriately staffed, which sometimes involves moving individuals to the bench
12   and then reallocating them to other billable roles. Id. ¶ 4.
13         Regardless of the imperfect discovery on both sides,106 it is undisputed that
14   Plaintiffs have received a substantial amount of information in this case. Defendants
15   have produced upwards of 270,000 documents and data concerning more than 100,000
16

17   106
            For example, Plaintiffs produced several thousand documents after the
18   depositions of Mr. Piroumian, Ms. Palmer and Mr. Franchitti without offering the
     opportunity to reopen their depositions, permitted the loss of evidence (specifically
19
     testimony from Mr. Cox, whose ultimately fatal diagnosis Plaintiffs’ counsel were aware
20   of, but failed to disclose), produced a privilege log for the first time a week before the
     close of discovery (which was riddled with problems, leading to Plaintiffs now standing
21
     by roughly 50 the 238 entries originally on the log after Cognizant challenged numerous
22   entries), and served supplemental initial disclosures setting forth Plaintiffs’ damages
     disclosures for the first time on the last day of discovery. In addition, Plaintiffs also
23
     refused for several days to sequester documents after Cognizant informed them that
24   privileged documents had been inadvertently produced due to a processing error. More
     than 700 documents in the production contained the word “privilege,” more than 100
25
     had the term “attorney-client” in them, and more than 800 documents included emails
26   with an in-house attorney at Cognizant whose name appears on Cognizant’s privilege
27
     log in the description field 1,367 times, and in the to/from/cc fields 3,840 times. Maryott
     Decl., ¶ 17.
28
                                                49
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1    employees and even more applicants. Maryott Decl., ¶ 2. In addition to custodial
2    documents, Cognizant has responded to Plaintiffs’ informal and formal questions in
3    emails and interrogatories regarding numerous topics. When Plaintiffs have issued
4    specific requests for production of documents or interrogatories that required the further
5    identification of documents, Cognizant either objected or searched for those documents
6    and produced them, regardless of whether they were encompassed by a particular
7    agreed-upon custodian. By way of example, Cognizant has produced Affirmative
8    Action Plans, EEO-1 reports, documents pertaining to supervised recruitment, various
9    visa-related reports, information concerning bench practices, and more. Id. With respect
10   to Plaintiffs’ requests for other sanctions pursuant to Rule 26(g), Cognizant has already
11   agreed to search and produce non-email custodial ESI, from custodian laptops and
12   OneDrive (for those individuals who used OneDrive). And Plaintiffs have indicated
13   their intention to seek an extension of the schedule from Judge Gee, thus mooting their
14   request here.
15                   b.   Sanctions are unwarranted under Rule 37(e)
16         Rule 37(e) permits a Court to issue sanctions under limited circumstances. For
17   any sanctions to issue, a Court must first find two requirements met: spoliation and
18   prejudice to the party seeking sanctions. Moreover, a harsher set of sanctions—like the
19   adverse inference jury instruction Plaintiffs seek here—requires a finding of not just
20   spoliation and prejudice, but also of intent:
21         Failure to Preserve Electronically Stored Information.
22         If electronically stored information that should have been preserved in the
23         anticipation or conduct of litigation is lost because a party failed to take
24         reasonable steps to preserve it, and it cannot be restored or replaced through
25         additional discovery, the court:
26         (1) upon finding prejudice to another party from loss of the information, may
27         order measures no greater than necessary to cure the prejudice; or
28
                                                50
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1              (2) only upon finding that the party acted with the intent to deprive another
2              party of the information’s use in the litigation may:
3                    (A) presume that the lost information was unfavorable to the party;
4                    (B) instruct the jury that it may or must presume the information was
5                    unfavorable to the party; or
6                    (C) dismiss the action or enter a default judgment.
7    Fed. R. Civ. P. 37(e). Plaintiffs cannot meet any of these three requirements—lost
8    information that cannot be restored or replaced through additional discovery, prejudice,
9    or intent. As such, they are not entitled to any sanctions pursuant to Rule 37, let alone
10   sanctions—including an adverse inference jury instruction—that require a finding of
11   intent.
12                          (i)   The Inadvertent Substitution of Mr. Rajagopalan and
13                                Alleged Loss of “Margin Optimization” Documents
14                          1)    Plaintiffs Fail to Establish Spoliation
15             Plaintiffs posit that there has been spoliation of documents pertaining to a margin
16   optimization initiative, of which they claim Sriram Rajagopal was the mastermind.
17   Plaintiffs are correct that Mr. Rajagopal’s documents were not preserved, but that alone
18   does not demonstrate spoliation. Mr. Rajagopal left the company months before the
19   lawsuit was even filed, and his relevance to the lawsuit was not raised by Plaintiffs for
20   the first time until 2019. Maryott Decl., ¶ 9. Where documents are lost prior to
21   anticipation of litigation, it is not spoliation. See Lamb v. Horbaczewski, No. CV 17-
22   6210-JAK (KSx), 2020 WL 7978227, at *20 (C.D. Cal. Nov. 17, 2020) (finding no
23   spoliation of text messages that were lost prior to the date of plaintiffs’ demand letter
24   because there was no reasonable expectation of litigation prior to the demand); Price v.
25   Peerson, No. CV 13-3390 PSG (JEMx), 2014 WL 12558253, at *7–8 (C.D. Cal. Apr.
26   23, 2014) (finding no spoliation where ESI was overwritten pursuant to routine protocol
27   before litigation was reasonably anticipated).
28
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1           Moreover, there is no indication that there has been a loss of relevant margin
2    optimization documents that could not be restored or replaced through other discovery.
3    There is a simple reason for this—Plaintiffs’ invocation of “margin optimization” as
4    playing a “central role” in this case is brand new. As such, Plaintiffs never sought
5    documents related to margin optimization.
6           Speculation that the inadvertent substitution of Mr. Rajagopalan led to the loss of
7    custodial documents for Mr. Rajagopal is, just that, speculation. Mr. Rajagopal’s last
8    day with the company based on company records was June 3, 2017, more than three
9    months prior to this lawsuit being filed, Maryott Decl., ¶ 9. Moreover, he is not named
10   in the Complaint, and the first instance of his name being raised comes in Plaintiffs’
11   initial disclosures served in 2019, almost two years after Mr. Rajagopal left the company.
12   Plaintiffs later identified him as a requested custodian in February 2020, nearly three
13   years after he left the Company.
14          Moreover, there is no indication that documents concerning margin optimization
15   cannot otherwise be obtained. First, Plaintiffs misrepresent Mr. Rajagopal’s purview,
16   describing him as “the Talent Supply Chain lead who oversaw Cognizant’s Margin
17   Optimization initiative and visa staffing practices” (J.S. at p. 21) by citing to the list of
18   custodians(Pls. Ex. 46), but nowhere is it suggested that Mr. Rajagopal led Cognizant’s
19   “visa staffing practices,” nor is it clear that Mr. Rajagopal oversaw Cognizant’s margin
20   optimization initiatives.     Indeed, while Mr. Rajagopal was involved in margin
21   optimization initiatives during his last two years at the Company, 2015-2017, there were
22   many participants in Cognizant’s margin optimization initiatives. Pamanabhan Decl.,
23   ¶ 7.
24          Plaintiffs ignore the fact that margin optimization documents and information
25   may be obtained from other sources, even if Mr. Rajagopal’s documents were
26   unavailable. For example, after Cognizant identified the inadvertent substitution and
27   alerted Plaintiffs to it, Plaintiffs never sought, for example, to depose Mr. Rajagopal, or
28   in any other manner seek further documents or communications concerning margin
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1    optimization (something that Cognizant did not know Plaintiffs conceived to be so
2    central or related to Mr. Rajagopal specifically). Moreover, there is the simple fact that
3    other custodians for whom documents have been collected would almost certainly have
4    been sent any relevant communications pertaining to margin optimization initiatives that
5    impacted North America Talent Supply Chain. Given his roles in the Company,
6    Venugopal Padmanabhan, whose documents Cognizant has produced and whom
7    Plaintiffs deposed, would have been included on any important communications
8    concerning major initiatives related to Talent Supply Chain (formerly known as Global
9    Workforce Management or GWFM). Padmanabhan Decl., ¶ 6.
10                      2)     There is no prejudice from alleged spoliation of margin
11                             optimization documents
12         Even if Plaintiffs could demonstrate spoliation (they cannot) they suffered no
13   prejudice as a result. Rule 37(e)(1) requires a finding that the nonresponding party has
14   been prejudiced by the loss of the information, which occurs only where its “ability to
15   go to trial” is impaired or “the rightful decision of the case” is threatened by the lost
16   information. Youngevity Int’l v. Smith, No. 3:16-cv-704-BTM-JLB, 2020 WL 7048687,
17   at *3 (S.D. Cal. July 28, 2020) (citation omitted). To show prejudice, the nonresponding
18   party must come forward with “plausible, concrete suggestions” about what the lost
19   information “might have been.” Hynix Semiconductor Inc. v. Rambus Inc., 897 F. Supp.
20   2d 939, 981, 984 (N.D. Cal. 2012) (citation omitted) (emphasis in original) (finding no
21   prejudice where plaintiff had not “proffered a plausible, concrete suggestion as to how
22   it may have been prejudiced by the destruction of” licensing documents where other
23   related documents “were maintained at least to a large extent”); see Matthew Enterp.,
24   Inc. v. Chrysler Grp. LLC, No. 13-cv-04236-BLF, 2016 WL 2957133, at *4 (N.D. Cal.
25   May 23, 2016) (no prejudice where plaintiff offered no suggestions about what lost
26   emails might have contained); see Apple Inc. v. Samsung Elecs. Co., Ltd. (Apple II),
27   888 F. Supp. 2d 976, 994–95 (N.D. Cal. 2012) (noting that “where the parties seeking
28   spoliation sanctions had already ‘gathered an enormous amount of discovery—both
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1    from documents and witnesses,’ “[u]nless they can show through extrinsic evidence that
2    the loss of the documents has prejudiced their ability to defend the case,” a spoliation
3    charge was not warranted) (quoting Pension Comm. of Univ. of Montreal Pension Plan
4    v. Banc of America Sec., 685 F. Supp. 2d 456, 479 & n.97 (S.D.N.Y. 2010)).
5            Plaintiffs now (for the first time) claim that Cognizant’s “‘Margin Optimization’
6    initiative” had a “[c]entral [r]ole” in Cognizant’s alleged pattern and practice of
7    discrimination, (J.S. at p. 7), and tether almost the entirety of their alleged “prejudice”
8    to the alleged loss of documents concerning this initiative. But, the claimed “centrality”
9    of the margin optimization program to Plaintiffs’ claims is belied by Plaintiffs’ own
10   neglect of this program or issue throughout this litigation, despite possessing
11   information concerning this initiative for years. Indeed, Plaintiffs did not even raise it
12   in the nine-page single spaced letter they sent to initiate the Rule 37 process for this joint
13   stipulation on October 28, 2021. Maryott Decl., Ex. 3. Instead, only in response to
14   Cognizant’s recitation of the case law concerning sanctions, have Plaintiffs now, for the
15   first time in November 2021, posited the supposedly central role of the initiative in its
16   case.
17           Moreover, prejudice is further negated where the information can still be obtained
18   from other produced ESI, even if not as convenient. See Apple II, 888 F. Supp. 2d at
19   994 (finding that “Apple ‘should have been able to glean’ much material evidence ‘from
20   the documents actually produced, the extensive deposition testimony, and the written
21   discovery between the parties’” and thus a strong adverse inference was not warranted
22   because Apple’s ability to go to trial was not “significantly hampered” (citation
23   omitted)); In re Oracle Corp. Sec. Litig., 627 F.3d 376, 386 (9th Cir. 2010) (finding that,
24   although some lost emails were not produced, “the documents that were produced
25   contained numerous email chains in which [that] correspondence was contained” and
26   “Plaintiffs should have been able to glean [the information] from the [2.1 million]
27   documents actually produced, the extensive deposition testimony, and the written
28   discovery between the parties”).
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1    margin optimization, nor does it stand for the absurd proposition advanced by Plaintiffs.
2    (J.S. at p. 10 & fn. 16).107
3           Second, despite this long-time awareness of margin optimization, as described in
4    documents either in Plaintiffs’ possession or in documents produced more than ten
5    months ago by Cognizant, Plaintiffs have never raised margin optimization specifically
6    in written discovery requests. Maryott Decl., ¶ 6. This approach to margin optimization
7    stands in sharp contrast to the approach Plaintiffs took in issuing follow-up discovery
8    on a host of other topics between April 2021 and the fact-discovery cut off. In the wake
9    of production of tens of thousands of emails, Plaintiffs issued a Fourth Set of RFPs on
10   April 6, 2021, a Fifth Set on April 30, 2021, a Sixth Set on August 12, and a Seventh Set
11   on August 26, 2021. Maryott Decl., Exs. 16-19. The 17 requests contained within those
12   sets of discovery asked for documents specific to a host of other policies, practices, or
13   initiatives—e.g.,    supervised   recruitment;   soft   blocking    (a   bench    process);
14   communications with third-parties (McKinsey & Co., Biddle Consulting Group,
15   Berkshire Associates Inc.); documents or data concerning appraisal ratings and job
16   levels; complaints filed against former Cognizant employees for taking company
17   documents; documents and policies concerning sharing of affirmative action or diversity
18   data; and documents concerning Cognizant’s content moderation employees. Id. Not a
19   single request sought documents regarding the margin optimization effort.
20          Plaintiffs also, in that same time period, issued Interrogatories and an RFP
21   requesting production of all documents and data used to answer any interrogatory. On
22   April 6, 2021, Plaintiffs served their Third Set of Interrogatories (No. 8); on April 30,
23
     107
24          Plaintiffs’ portion of the joint statement is replete with these sort of
     mischaracterizations.      Cognizant has not undertaken to walk through each
25
     misrepresentation because some are tangential to the relief Plaintiffs have requested and
26   Cognizant does not intend to overburden the Court with further, unnecessary paper. The
27
     failure to address any particular misrepresentation of a fact by Plaintiffs, however, is not
     a concession. Cognizant trusts that it will be readily apparent upon by review by the
28   Court which documents do not support the statement for which Plaintiffs cite them.
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1    2021, Plaintiffs served their Fifth Set of Interrogatories (Nos. 10–16); and on September
2    15, 2021, the last day to serve timely interrogatories before the discovery cut-off,
3    Plaintiffs served their Sixth Set of Interrogatories (Nos. 17–18). Maryott Decl., Exs. 20-
4    22. These interrogatories requested information concerning supervised recruitment;
5    bench policies or practices including soft blocking and masking; Cognizant’s “Fast
6    Forward Program”; employees’ manner of hire; travel ready reports; Cognizant’s
7    compliance with its obligation to pay a prevailing wage; and all facts supporting
8    Cognizant’s affirmative defenses. With the exception of one interrogatory seeking
9    information concerning contractors to which Cognizant objected, Cognizant answered
10   each of the other interrogatories, and where appropriate, produced further documents
11   and data in conjunction with its responses. Not a single one of these interrogatories
12   requested information concerning margin optimization.
13         Third, despite the connection that Plaintiffs now draw between Cognizant’s
14   Talent Supply Chain (“TSC”) and margin optimization initiatives, Plaintiffs only sought
15   to depose Venugopal Padmanabhan, even though Mr. Padmanabhan, Anand Kabra, and
16   Sriram Rajagopal were all involved in Talent Supply Chain from 2015 onward.
17   Padmanabhan Decl., ¶ 7; Pls. Ex. 32 . Notably, Plaintiffs’ counsel never once asked
18   about margin optimization or about Sriram Rajagopal during Mr. Padmanabhan’s
19   deposition on October 12, 2021. Maryott Decl., ¶ 7.
20         If, as Plaintiffs contend, they believed Talent Supply Chain played a central role
21   in margin optimization108 (and Mr. Rajagopal the most significant role), Plaintiffs
22
     108
23          Plaintiffs also misrepresent Talent Supply Chain’s role generally. Plaintiffs cite
     to various EEOC position statements in support of the proposition that it is Talent Supply
24
     Chain’s “responsibility to place benched employees in U.S. positions.” (J.S. at p. 9).
25   They make this claim despite the fact that one of the position statements to which they
26
     cite, Plaintiffs’ Exhibit 10, explicitly states: “It bears noting that the employee is
     responsible for securing the new assignment, not the Talent Supply Chain team. Talent
27   Supply Chain provides assistance, but employees are expected to devote full-time to
28
     obtaining an assignment.” Pls. Ex. 10, at p. 3, fn.3 (emphasis added). Moreover,

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1    trial.” Ahcom, Ltd. v. Smeding, No. 07–1139 SC, 2011 WL 3443499, at *9 (N.D. Cal.
2    Aug. 8, 2011). “[C]ourts often decline to impose sanctions for spoliation where the
3    documents withheld are unlikely to material[ly] affect the outcome of the case, insofar
4    as other evidence exists to provide the same information.” Lofton v. Verizon Wireless
5    (VAW) LLC, 308 F.R.D. 276, 288 (N.D. Cal. 2015); see also Ahcom, 2011 WL 3443499,
6    at *8–9 (declining to impose adverse inference because “Plaintiff had access to extensive
7    information about the” subjects it suspected had been lost and finding that spoliation
8    was “highly unlikely to have materially impacted the outcome of the case”); Hamilton
9    v. Signature Flight Support Corp., No. C 05-0490 CW (MEJ), 2005 WL 3481423, at *8
10   (N.D. Cal. Dec. 20, 2005) (declining to impose adverse inference where plaintiffs had
11   other evidence available to confirm that the evidence they had was accurate and
12   plaintiffs were thus not prejudiced by the lost evidence).
13                       3)    Plaintiffs do not and cannot show the intent required for
14                             an adverse inference jury instruction.
15         An adverse inference permitting or instructing the jury to presume information
16   was unfavorable is only available under Rule 37(e)(2) where the court finds “intent to
17   deprive the opposing party of the information’s use in the litigation.” “Negligent or even
18   grossly negligent behavior is insufficient to show intent.” Fed. R. Civ. P. 37(e)(2)
19   advisory committee note to 2015 amendment. For a court to find intent, there must be
20   evidence, or it must be reasonable to infer, that the evidence was “purposefully
21   destroyed” to “avoid [] litigation obligations.” Porter v. City & Cty. of San Francisco,
22   No. 16-cv-03771-CW(DMR), 2018 WL 4215602, at *3 (N.D. Cal. Sept. 5, 2018). Thus,
23   for example, the failure to suspend an ESI retention policy quickly enough after
24   litigation, standing alone, is not sufficient to show intent. See id. at *4 (no evidence of
25   intent where calls were erased due to 2-year ESI retention policy). Nor is the mere fact
26   that a litigation hold was not broad enough to encompass the lost information sufficient
27   to find intent. See Sec. Alarm Fin. Enterp., L.P. v. Alarm Protection Tech., LLC, No.
28   3:13-cv-00102-SLG, 2016 WL 7115911, at *6 (D. Alaska Dec. 6, 2016) (finding that
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1    failure to prevent files from being overwritten due to limited litigation hold did not
2    amount to intent to deprive the other party of the ESI). Moreover, a finding of intent is
3    not appropriate where defendants have “produced thousands of documents” and “have
4    introduced possible explanations for unintentional deletions.” Youngevity, 2020 WL
5    7048687, at *4.
6          With respect to the (inadvertent) substitution of Sriram Rajagopalan for Sriram
7    Rajagopal as a custodian, Plaintiffs have no evidence of intent to deprive Plaintiffs of
8    documents concerning margin optimization.         Significantly, it was Cognizant who
9    discovered this inadvertent and unfortunate error and immediately notified Plaintiffs of
10   the same by email dated July 22, 2021. Cognizant was forthcoming concerning this
11   mistake, explaining:
12         We write to provide you with information concerning one of the custodians
13         for whom you requested ESI. In the original list of custodians, you had
14         requested ESI from Sriram Rajagopal.           Unfortunately, there was a
15         miscommunication in the process of pulling custodial documents, and
16         ultimately documents for a Sriram Rajagopalan were pulled and produced
17         to you. You’ll note that the custodian name in the productions is, in fact,
18         Sriram Rajagopalan. Sriram Rajagopal left Cognizant several months prior
19         to the filing of this lawsuit. Cognizant does not have documents for Mr.
20         Rajagopal.
21   Pls. Ex. 47. The mistake was unfortunate, but it was just that, a mistake—the genesis of
22   which may have been a typo in Mr. Rajagopal’s name in an email to Plaintiffs that then
23   became the basis for the final custodian list—specifically, the l was left off the end of
24   his name. See also Pls. Ex. 48 (April 2021 production letter noting that the production
25   “contains ESI from the PST files of fifteen of the twenty-three agreed-upon custodians
26   . . . Sriram Rajagopa”). Neither Plaintiffs nor Cognizant caught this typo, and Plaintiffs
27   never sought clarification with respect to the list. The documents ultimately pulled and
28   produced were from Sriram Rajagopalan; both the metadata for the documents and the
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1    documents themselves contain Sriram Rajagopalan’s name. Maryott Decl., ¶ 8. Despite
2    the fact that production of Mr. Rajagopalan’s documents began in December 2020, when
3    Cognizant produced 1,240 documents for him, Plaintiffs did not identify the error then.
4    By mid-April 2021, more than 4,000 of the roughly 4,100 documents ultimately
5    produced for Mr. Rajagopalan had been sent to Plaintiffs, and Plaintiffs also did not
6    notice the error then. Id. That Mr. Rajagopal has only recently taken on outsized
7    importance in Plaintiffs’ case seems readily apparent from a simple fact—Plaintiffs
8    never noticed that approximately 4,100 documents were for a custodian who was not
9    Mr. Rajagopal. This is not to place the blame on Plaintiffs for not catching an
10   inadvertent error originally made by Cognizant; the point is simply that if Mr. Rajagopal
11   was as central to Plaintiffs’ case as they now claim—“quite likely this case’s single most
12   relevant position” (J.S. at p. 24)—and Plaintiffs timely reviewed even some of the
13   documents that they pushed so hard to receive as quickly as possible, it seems
14   inconceivable that they would not have discovered and raised this error prior to
15   Cognizant discovering it in July 2021.
16         Nor, of course, can Plaintiffs point to any intent to deprive Plaintiffs of margin
17   optimization-related documents more broadly. Plaintiffs have never requested such
18   documents, asked about margin optimization in depositions, or otherwise indicated they
19   needed such documents; an approach that stands in sharp contrast to their approach to
20   other specific topics, as discussed above.
21                      (ii)   Rule 37 sanctions are also unwarranted on the basis of
22                             document collection glitches.
23                      1)     Alleged spoliation of custodial ESI
24         Separate from Mr. Rajagopal, Plaintiffs speculate that other custodial ESI, which
25   Cognizant had a duty to preserve, was lost for two reasons: (1) allegedly belated
26   litigation hold notices; (2) Cognizant’s collection of emails and attendant issues
27   concerning laptops and size limitations of email mailboxes prior to its transition to
28   Office365. Cognizant addresses each in turn.
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1          As an initial matter, Cognizant issued litigation holds immediately following the
2    filing of the lawsuit and then issued additional holds particular custodians’ relevance to
3    the litigation became clear. Litigation hold notices were issued to almost 90 custodians
4    on September 27, 2017, 9 days after Plaintiffs filed this lawsuit; another 35 individuals
5    received litigation hold notices on December 14, 2017. Pls. Ex. 31. Additional potential
6    custodians subsequently were placed on litigation holds, including another 41 in 2019,
7    10 in 2020, and 1 more in 2021.109 Id. The holds in 2019 and later reflect the reality
8    that Cognizant did its best to anticipate at the outset which individuals might have
9    relevant information in this matter, but as discovery began in earnest in 2019, and
10   Plaintiffs honed in on other custodians (who did not relate to the named Plaintiffs),
11   Cognizant issued additional litigation holds.
12         Some of the holds issued on September 27, 2017 were for individuals who
13   ultimately became the 23-agreed upon custodians, e.g. David Amsden (hold issued
14   9/27/2017); Colleen Doherty (hold issued 9/27/2017); Helen Kim (hold issued
15   9/27/2017); James Lennox (hold issued 9/27/2017); Atish Mitra (hold issued
16   9/27/2017); Venugopal Padmanabhan (hold issued 9/27/2017); Mohan Ramachandran
17   (hold issued 9/27/2017); NN Srinivas (hold issued 9/27/2017); and Srinivasan
18   Veeraraghavachary (hold issued 9/27/2017).        Pls. Ex. 31.    With respect to other
19   custodians, Cognizant placed them on legal hold upon learning of Plaintiffs’ custodian
20   requests or otherwise understanding their involvement in the case. Indeed, within
21   roughly a week of Plaintiffs sending their proposed list of 33 custodians, legal holds
22   were issued for eventual custodians who were not already on holds.110
23

24   109
            The single hold issued in 2021 was for Mr. Rajagopalan and is discussed above.
25   It was issued after discovery of the mix-up concerning custodians.
     110
26
            The only exceptions to the 23 custodians being placed on a legal hold either before
     they were proposed as custodians or within roughly a week after being proposed were
27   Abigail Israel (whose legal hold issued on May 15, 2020, prior to the custodian list being
28
     finalized, but several months after being proposed) and Sriram Rajagopal (who had left

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1           Plaintiffs broadly posit, without specifying particular custodians, that Cognizant’s
2    approach was improper because it should have been aware of, at the outset of the
3    litigation, all of the custodians Plaintiffs would ultimately land on. It was not until
4    discovery began in earnest in 2019 and custodians were proposed by Plaintiffs in 2020
5    that Cognizant understood the full scope of individuals Plaintiffs thought were relevant
6    to their case. That nearly half of the eventual custodians were on the initial legal hold
7    list is significant given that Plaintiffs seemed uninterested in including custodians who
8    would have specific personal knowledge regarding the named Plaintiffs.
9           Even if all of the eventual custodians had been placed on a legal hold list
10   immediately upon the filing of the lawsuit, however, that would still not satisfy Plaintiffs
11   because, they argue, some of the eventual 23 custodians should have been placed on
12   legal hold as a result of the named Plaintiffs’ EEOC charges or the Commissioner’s
13   pattern-or-practice charge. Plaintiffs are mistaken. First, none of the eventual 23
14   custodians were named in the Plaintiffs’ EEOC charges, nor have Plaintiffs pointed to
15   any one of the 23 custodians specifically as being an individual who should have been
16   placed on a legal hold following the filing of their individual EEOC charges. Second,
17   although Plaintiffs continue to try to make this case the same as the Commissioner’s
18   pattern-or-practice investigation, they are not the same.        As even Plaintiffs must
19   concede, the Commissioner’s pattern-or-practice investigation did not focus on
20   documents from particular Cognizant employees. Instead, the EEOC received some
21   employee and hiring data and conducted a small number of interviews. Maryott Decl.,
22   Ex. 6 at pp. 1-2. This is a fact of which Plaintiffs have been well aware for a year-and-
23   a-half. Id.111
24

25   the company months before Plaintiffs filed the lawsuit and was not placed on a hold).
     Pls. Ex. 31.
26          111
                  Relatedly, though again without specifics, Plaintiffs posit that somehow
27   Cognizant should have retained more information than it did on the basis of document
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     retention requirements for federal contractors, but 41 C.F.R. § 60-1.12 does not appear

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1          Moreover, although the document collection and production has had a few
2    glitches, it is pure speculation that such glitches have led to any loss of relevant
3    documents. Plaintiffs posit that documents that should have been preserved have been
4    lost in this case, but it is pure speculation that custodial emails (or even documents) were
5    lost after the lawsuit was filed, or, more pertinently, after Cognizant sought to preserve
6    documents for custodians based on its understanding of their relationship to the case.
7    Plaintiffs primarily point to three potential loss points: the “migration glitch”; emails as
8    a result of email box size limits and laptops from which documents could not be
9    recovered.
10   The migration glitch:
11         As soon as Plaintiffs alerted Cognizant to the irregularities in documents produced
12   by year, Cognizant promptly investigated and informed Plaintiffs of the migration glitch
13   that resulted in some earlier email files potentially being stored as individual .pst files
14   on laptops and therefore not on the on-premises servers that were migrated to Office365.
15   At that time, Cognizant promptly proceeded to collect custodian laptops and search them
16   for any available .pst files that could be obtained. Since that time, Cognizant has kept
17   Plaintiffs apprised of its efforts, which were time and resource intensive. And those
18   efforts have been successful. Cognizant has produced upwards of an additional 85,000
19   documents thus far as a result of this enormous effort, and documents for the final
20   custodian, Atish Mitra, will be forthcoming. Maryott Decl., ¶ 11. Plaintiffs have failed
21   to show that Cognizant lost documents as result of this misstep that Cognizant identified
22   and corrected. Moreover, the time period between custodial collection (the second half
23

24

25

26   to mandate what Plaintiffs assert. The provision requires retention of documents related
27
     to hiring actions, such as job applications and personnel files. Id. § 60-1.12(a) See
     Office of Federal Contract Compliance Programs (OFCCP), Federal Contract
28   Compliance Manual at 81.
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1    of 2020) and identification of the migration glitch issue (the first half of 2021) was
2    relatively short, further undercutting Plaintiffs’ allegations of loss.
3    Mailbox size:
4          Plaintiffs claim that Cognizant spoliated evidence because it maintained mailbox
5    size limits, but such mailbox size limits were no longer in place by the time all custodians
6    were identified. Nor does the evidence suggest that these mailbox size limits in any way
7    caused any of the 23 agreed-upon custodians to lose emails after they were on legal hold.
8    With respect to mailbox sizes, the custodian selection process in this case began on
9    January 17, 2020, when Cognizant sent Plaintiffs a proposed initial list of 17 custodians
10   based on the allegations in the operative complaint as well as proposed date ranges for
11   each custodian and a citation to the paragraph or paragraphs in the complaint supporting
12   that particular date range for each custodian. Maryott Decl., Ex. 9. On February 24,
13   2020, Plaintiffs sent their first list of proposed custodians—33 of them—to Cognizant.
14   Maryott Decl., ¶ 12. Following negotiations, the parties landed on the 22-agreed upon
15   custodians (23 if Mr. Mitchell is included)—around late-July 2020. All 22 were on
16   Plaintiffs’ original list of 33. Importantly, by the time Plaintiffs’ custodian list was
17   proposed, all custodians’ emails on the on-premises servers had been migrated to Office
18   365 for some time. Maryott Decl., Ex. 7.
19         With respect to laptops or emails more generally, a number of custodians had also
20   left Cognizant before the lawsuit was filed or before or around the time of the exchange
21   of custodian lists. E.g., Keith Mitchell (June 2017); Sriram Rajagopal (June 2017);
22   Kaushik Bhaumik (July 2019); Gajakarnan Kandiah (June 2019); Sriniketh Chakravarthi
23   (February 2020); Vipul Khanna (July 2019); Nirav Patel (July 2019); Bhaskar
24   Sambasivan (June 2019); NN Srivinvas (February 2020); Venugopal Lambu (December
25   2019). Maryott Decl., ¶ 18. To the extent that custodians left Cognizant prior to being
26   named as potential custodians (where Cognizant did not see their relevance to the case),
27   that some of their materials may have been lost does not amount to spoliation, nor is
28   there any indication (contrary to Plaintiffs’ argument) that the alleged email box size
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1    limits on the servers used prior to migration to Office365 resulted in the loss of any
2    custodian emails, much less that the limits were intended to result in loss. There is
3    nothing wrong with a company having size limits on email boxes. And email size limits
4    no longer applied once an individual was migrated to Office 365. At that point, the
5    mailbox storage size was unlimited. With respect to the custodians at issue in this case,
6    the majority of them were migrated to Office 365 within months of this lawsuit being
7    filed. As such, whatever emails they possessed as soon as many of them received an
8    initial litigation hold notice on 9/27/2017 were almost certainly there when migrated to
9    Office 365. And, once migrated, this entire specter of “continued use of low email
10   storage limits,” vanished because Office 365 contains no limits. Maryott Decl., ¶ 13.
11   Plaintiffs are also well aware of the dates upon which custodians were migrated to Office
12   365, having received them during the August 6, 2021 Rule 30(b)(6) deposition. Maryott
13   Decl., Ex. 7. The following eleven custodians were migrated in 2017: Amsden, Doherty,
14   Kabra, Kim, Cohen (Mimon), Mitra, Padmanabhan, Israel, Srinivas, Chakravarthi, and
15   Veeraraghavachary. And five more were migrated in the first two months of 2018. As
16   such, any time period between the filing of the lawsuit and migration to Office 365 for
17   the vast majority of the custodians was quite short.
18         Taking, for example, the two employees Plaintiffs have deposed thus far, Ms. Kim
19   and Mr. Padmanabhan, there is no evidence of Cognizant’s failure to stop the deletion
20   of documents or continued use of low email storage limits while failing to ensure that
21   ESI custodians saved emails and other ESI in .psts or elsewhere. Ms. Kim, for example,
22   received a litigation hold notice on 9/27/2017 and was migrated to Office 365 on
23   11/17/2017. There is no reason to believe that she deleted anything from her emails
24   between 9/27 when she received the hold and 11/17 when she was migrated (nor was
25   she asked whether that was the case during her deposition). And there is no evidence
26   that her mailbox was near full at that time. Mr. Padmanabhan similarly received a
27   litigation hold notice on 9/27/2017 and was migrated to Office 365 on 12/20/2017. As
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1    with Ms. Kim, there is absolutely no evidence that he deleted emails during that window
2    or that his email was near any storage limit at that time.
3          Moreover, even prior to the migration to Office 365, there is no evidence Mr.
4    Padmanabhan or Ms. Kim lost or deleted any emails. Their testimony suggests exactly
5    the opposite. Mr. Padmanabhan testified that he was unaware that Cognizant had limited
6    server space for emails, strongly suggesting that he had not come up against any size
7    limitation in the past. Maryott Decl., Ex. 13. Ms. Kim also testified that she saved her
8    emails to a .pst at the end of every year, and when asked “how do you manage bumping
9    up against server limitations,” she explained that the “PST takes care of that.” When
10   pressed as to what happens in an existing year, i.e. before emails are saved to a .pst, Ms.
11   Kim testified that she “ha[d]n’t come across any limitations.” Maryott Decl., Ex. 14.112
12   Other custodian documents—laptops and OneDrive:
13         As Cognizant has made clear to Plaintiffs and the Court [Dkt. 185, 188],
14   Cognizant is proceeding to collect and produce documents from custodian OneDrives or
15   laptops, where available. OneDrive is a relatively new repository, coming into existence
16   concurrently with Office365. With respect to laptops, as noted above, many would-be
17   custodians left Cognizant prior to the lawsuit being filed or their relevance being
18   ascertained through Plaintiffs’ proposed custodian list or disclosures. To the extent that
19   laptops predating the lawsuit are unavailable, that is hardly evidence of spoliation. And,
20   even if there were documents missing (something Plaintiffs have not shown), it is
21   impossible to know whether those documents were lost in the normal course of an
22   employee’s decisions about what emails, documents, and laptops he or she retains in the
23   normal course of her employment when there are no preservation obligations.113 The
24
           112
25               Plaintiffs’ exhibits containing excerpts of the deposition transcripts of
     Venugopal Padmanabhan and Helen Kim do not contain the excerpts cited by Cognizant
26   herein, which are included as Exhibits 13 and 14 to the Maryott Declaration.
           113
27               Plaintiffs point to only one laptop from an existing employee that could not
28
     be recovered--that of Mohan Ramachandran. Cognizant is still investigating this issue;

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1    existence of litigation holds strongly supports the conclusion that once the hold issued,
2    employees retained their documents as instructed, and continued to do so in accordance
3    with reminders. Maryott Decl., Ex. 23.
4                        2)     Beyond allegedly lost “margin optimization” documents
5                               Plaintiffs have not even tried to show prejudice.
6          Even if documents that should have been preserved were lost, Plaintiffs must still
7    demonstrate prejudice. Youngevity, 2020 WL 7048687, at *3. They have not even tried
8    to do so. Aside from allegedly lost margin optimization documents from Sriram
9    Rajagopal, Plaintiffs fail to argue or assert prejudice, and for good reason. More than
10   270,000 documents were produced from the agreed-upon custodians, and Plaintiffs have
11   failed to come forward with “plausible, concrete suggestions” about what the lost
12   information “might have been.” Hynix Semiconductor, 897 F. Supp. 2d 939 at 981, 984
13   (citation omitted) (emphasis in original) (finding no prejudice where plaintiff had not
14   “proffered a plausible, concrete suggestion as to how it may have been prejudiced by the
15   destruction of” licensing documents where other related documents “were maintained at
16   least to a large extent”); see Matthew Enterp., 2016 WL 2957133, at *4 (no prejudice
17   where plaintiff offered no suggestions about what lost emails might have contained).
18   Without any showing of prejudice at all, any sanctions under Rule 37 are improper.
19                       3)     Plaintiffs cannot establish intent in connection with the
20                              collection glitches.
21         As discussed above, without a showing of prejudice, sanctions are unwarranted
22   and any question of intent as to collection glitches is moot. Nevertheless, for the sake
23   of completeness, Cognizant responds to Plaintiffs’ assertion that its failure to collect and
24   produce was the result of anything other than a misunderstanding. Plaintiffs recently
25   have taken the position that they were unclear as to what documents Cognizant was
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27
     Plaintiffs have an upcoming 30(b)(6) deposition on document issues at which time
28   Cognizant may be able to provide additional information.
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1    collecting. And, in fairness, this Court has pointed out the existence of imprecise
2    language used by the parties concerning the contours of the documents to be collected.
3          But even assuming Plaintiffs experienced some genuine confusion concerning the
4    scope of what was being collected at some point in time, any confusion could not have
5    reasonably persisted after May 18, 2021. In the wake of the discovery of the migration
6    glitch, Plaintiffs asked Cognizant point blank about the “steps Cognizant took to collect
7    documents for review, including the process by which the documents were collected,
8    who was involved in the collection (by title and location), what repositories of
9    responsive documents existed for each custodian, and what was collected for each
10   custodian.” Pls. Ex. 62 at p. 2 (emphasis added). Cognizant responded: “As explained
11   during our meet-and-confer call on May 13, 2021, Cognizant collected the entirety of
12   each of the 20 custodians’ email (including all folders) which were available in Office
13   365. At the time collected, Cognizant understood this to encompass the entirety of each
14   custodian’s email, given the large size of the collection. As noted in the cover email
15   accompanying the recent custodian productions, this encompassed ‘ESI from the PST
16   files’ of these custodians.” Id. (emphasis added); Pls. Ex. 48 at p. 1 (production letter
17   noting that production contained “ESI from PST files” of custodians). Plaintiffs’
18   counsel then quoted this precise response in a declaration filed in support of Plaintiffs’
19   portion of a joint stipulation re discovery disputes that was filed on June 23, 2021. [Doc
20   # 150-1 at pp. 8-9, Declaration of D. Kotchen ISO Joint Stip re Discovery Disputes
21   (quoting May 18, 2021 letter from Cognizant).] Plaintiffs also did not seem alarmed in
22   any way by this disclosure—if Plaintiffs really understood that Cognizant was collecting
23   more than emails for custodians, it is difficult to imagine that Plaintiffs would not have
24   immediately sought clarification.
25         The parties’ detailed email exchange concerning Mr. Mitchell’s documents
26   highlights the focus on production of emails. The collection and production of Mr.
27   Mitchell’s documents differed because he left the Company well before this lawsuit was
28   filed and Cognizant therefore did not have access to his email in the same manner as for
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1    other custodians.    Consequently, and as discussed in great detail with Plaintiffs,
2    Cognizant undertook an effort to obtain documents from Mitchell’s very old laptop—an
3    endeavor that was time-consuming, expensive, and ultimately successful. On March 12,
4    2021, Cognizant informed Plaintiffs’ counsel, in writing, that “[w]e are, separately and
5    as previously discussed, reviewing what emails can be recovered from his Company
6    laptop. We intend to search those documents using the previously agreed-upon search
7    terms. We will then review and produce.” Maryott Decl., ¶ 10 (emphasis added).
8    Plaintiffs registered no objection to this approach.
9          Ultimately, and of its own accord, Cognizant determined that because of the
10   unique nature of Mr. Mitchell’s documents, including the fact that it was unsure of
11   whether it had all of Mr. Mitchell’s emails, it would also search all non-junk files
12   available on his laptop. Cognizant informed Plaintiffs in writing of this on April 16,
13   2021: “[S]eparately, because of the unique nature of Mr. Mitchell’s document recovery,
14   including an inability to ascertain whether the .pst files recovered constitute his
15   complete .pst file, we also pulled other non-junk files available from Mr. Mitchell’s
16   laptop and ran the custodian search terms . . . over those files. That resulted in a set of
17   6,612 documents, which we will also review for responsiveness.” Maryott Decl., Ex. 1
18   at p. 1 (emphasis added). In response to these detailed communications between the
19   parties evincing their understanding that custodial collections and productions were
20   focused on emails and attachments, Plaintiffs point to a single sentence from a filing in
21   May 2020, well before the parties had negotiated or finalized the custodial collection
22   and production process, including search terms or custodians. That filing addressed a
23   myriad of issues, and the sentence to which Plaintiffs point focused on the timing of
24   custodial ESI (about which the parties agreed). [Dkt. 80-1.] That sentence was
25   overbroad and should have noted “emails and attachments,” but that single sentence
26   (which Plaintiffs only recently highlighted), should not be read to encompass the
27   understanding of the parties.
28
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1          Regardless, Cognizant is now undertaking to collect, review, and produce
2    documents belonging to the agreed-upon custodians located on those custodians’ laptops
3    or their OneDrives (to the extent custodians use(d) OneDrive). Plaintiff cannot show
4    spoliation, prejudice, or intent related to allegedly lost custodial documents, and for that
5    reason, sanctions should be denied.
6                        (iii)   Against This Backdrop, Case Law Confirms that
7                                Sanctions, Including an Adverse Inference Instruction
8                                Are Not Warranted
9          Whether under Rule 37 or under the Court’s inherent power, sanctions for the
10   aforementioned conduct are unwarranted.          Beyond walking through the required
11   elements for sanctions under Rule 37 (which Plaintiffs cannot meet) a review of the case
12   law that defines the contours of sanctionable conduct puts the type of conduct
13   complained of by Plaintiffs outside its scope.
14         Even where the court considers sanctions pursuant to its inherent authority, the
15   imposition of sanctions should be “exercised with restraint.” Apple Inc. v. Samsung
16   Electronics Co., Ltd. (Apple I), 881 F. Supp. 2d 1132, 1136 (N.D. Cal. 2012). Both
17   motive and degree of fault are “relevant to what sanction, if any, is imposed.” See In re
18   Napster, Inc. Copyright Litig., 462 F. Supp. 2d 1060, 1066–67 (N.D. Cal. 2006). “When
19   relevant evidence is lost accidentally or for an innocent reason, an adverse evidentiary
20   inference from the loss may be rejected.” Medical Lab. Mgm’t Consultants v. Am.
21   Broadcasting Cos., 306 F.3d 806, 824 (9th Cir. 2002). Additionally, “[t]he degree of
22   prejudice suffered by the opposing party” is key to the consideration of sanctions. Apple
23   II, 888 F. Supp. 2d at 992 (citations omitted). The prejudice inquiry “looks to whether
24   the [defendant’s] actions impaired [the plaintiffs’] ability to go to trial or threatened to
25   interfere with the rightful decision of the case” and whether the missing information
26   would force a party to rely on “incomplete and spotty evidence at trial.” Leon v. IDX
27   Sys. Corp., 464 F.3d 951, 959 (9th Cir. 2006). “The test for prejudice is whether there
28   is a reasonable possibility, based on concrete evidence, that access to the evidence which
                                                  71
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1    was destroyed or altered, and which was not otherwise obtainable, would produce
2    evidence favorable to the objecting party.” Hamilton, 2005 WL 3481423, at *8. This
3    can be demonstrated with extrinsic evidence of the destroyed evidence that
4    “demonstrates the extent to which the materials would have been harmful to the
5    spoliator.” Id. (citation omitted); cf. Oppenheimer v. City of La Habra, No. SACV 16–
6    00018 JVS (DFMx), 2017 WL 1807596, at *12 (C.D. Cal. Feb. 17, 2017) (finding
7    prejudice where other text messages showed that intentionally-deleted text messages
8    from the same thread would have contained relevant evidence); Zest IP Holdings, LLC
9    v. Implant Direct Mfg., No. CIV. 10-0541-GPC (WVG), 2013 WL 6159177, at *6 (S.D.
10   Cal. Nov. 25, 2013) (emails from CEO obtained from third parties showed that the
11   deleted emails supported plaintiff’s case). If the moving party does not set forth such
12   evidence and instead relies on “pure speculation” as to content, sanctions are not
13   warranted. Hamilton, 2005 WL 3481423, at *8. This is particularly true where
14   “Plaintiffs have other evidence available.” Id.
15   The availability of secondary evidence (or Plaintiffs failure to seek such evidence)
16   counsels against sanctions:
17         “The availability of secondary sources of evidence to compensate for the
18   despoiled evidence lessens any risk of prejudice at trial.” Ahcom, 2011 WL 3443499, at
19   *8–9. “[C]ourts often decline to impose sanctions for spoliation where the documents
20   withheld are unlikely to material[ly] affect the outcome of the case, insofar as other
21   evidence exists to provide the same information.” Lofton, 308 F.R.D. at 288 (declining
22   to impose Plaintiff’s sought spoliation sanctions because the case “d[id] not involve
23   spoliation of an entire swath of evidence with no possible substitution” and an order
24   requiring defendants to pay to reconstruct the data was sufficient); see also Ahcom, 2011
25   WL 3443499, at *8–9 (declining to impose adverse inference because “Plaintiff had
26   access to extensive information about the” subjects it suspected had been lost and finding
27   that spoliation was “highly unlikely to have materially impacted the outcome of the
28   case”); Hamilton, 2005 WL 3481423, at *8 (declining to impose adverse inference
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1    where plaintiffs had other evidence available to confirm that the evidence they had was
2    accurate and plaintiffs were thus not prejudiced by the lost evidence). Many of the cases
3    Plaintiffs cite expressly decline to grant an adverse inference sanction where discovery
4    is “voluminous” and the missing information is “not the only source of evidence in
5    support of plaintiff’s claims.” Al Otro Lado, Inc. v. Wolf, No. 3:17-CV-02366-BAS-
6    KSC, 2021 WL 631789, at *7 (S.D. Cal. Feb. 18, 2021) (declining to grant adverse
7    inference where “hundreds of thousands of other contemporaneous documents” were
8    produced and plaintiffs would not be “‘forced to rely on incomplete and spotty evidence’
9    to prove their claims”); see also Small v. Univ. Med. Ctr., No. 2:13-CV-0298-APG-PAL,
10   2018 WL 3795238, at *71 (D. Nev. Aug. 9, 2018) (declining to grant adverse inference
11   sanction under Rule 37(e)(2) where the lost ESI did “not threaten[] to interfere with the
12   rightful decision of the case on its merits given the large volume of ESI” that was
13   produced)114; Cache La Poudre Feeds, LLC v. Land O’Lakes, Inc., 244 F.R.D. 614, 624,
14   635–36 (D. Colo. 2007) (declining to grant adverse inference sanction because plaintiff
15   was not “substantially prejudiced by [d]efendants’ failure to implement and monitor an
16   adequate record preservation program” where defendant “produced over 50,000 pages
17   of documents” and the failure to preserve was not in bad faith).
18         Moreover, an adverse inference is not warranted where “secondary evidence” is
19   available to plaintiffs to prove their case and plaintiffs “fail[] to pursue this evidence.”
20   Med. Lab. Mg’mt Consultants, Inc., 306 F.3d at 824–25 (finding district court properly
21   declined to grant adverse inference instruction for lost evidence because plaintiff could
22
           114
                   Plaintiffs are incorrect in stating that an adverse inference sanction was
23
     granted in this case. The court instead imposed a lesser sanction under Rule 37(e)(1)
24   allowing for presentation of the court’s finding of spoliation to the jury and allowing it
     to consider spoliation. Small, 2018 WL 3795238, at *71. These are two distinct
25
     sanctions with vastly different requirements. See FRCP 37(e)(2) advisory committee
26   note to 2015 amendment (distinguishing between adverse inference instructions under
27
     (e)(2) directing or permitting jury to infer lost ESI was unfavorable from sanctions under
     (e)(1) allowing the parties to present evidence on spoliation and instructing the jury that
28   it may consider that evidence).
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1    have analyzed an alternate source of the data and deposed experts regarding the data
2    “but [plaintiff] chose not to”); see also Knightbrook Ins. Co. v. Payless Car Rental Sys.,
3    Inc., 43 F. Supp. 3d 965, 983 (D. Ariz. 2014) (declining to grant adverse inference
4    instruction where plaintiffs had not demonstrated bad faith and had “not shown that the
5    requested information was truly lost” because “they could have deposed witnesses from
6    third party entities” who “had knowledge” of the issues “but chose not to do so”); FTC
7    v. Lights of Am. Inc., No. SACV 10–1333 JVS (MLGx), 2012 WL 695008, at *5 n.8
8    (C.D. Cal. 2012) (declining to impose sanctions because, “[t]o the extent the [plaintiff]
9    has failed to produce any of these documents,” “the fact that these emails were available
10   through other sources lessens the likelihood of prejudice”). It does not matter that the
11   lost evidence may have been easier to analyze than the secondary evidence. Med. Lab.
12   Mg’mt Consultants, 306 F.3d at 825. And where “other, and in some instances . . . better
13   evidence” to support plaintiffs’ claims is actually produced in lieu of the lost ESI,
14   plaintiffs are not prejudiced and sanctions are not warranted. See Reinsdorf v. Skechers
15   U.S.A., Inc., 296 F.R.D. 604, 630–31 (C.D. Cal. 2013) (finding sanctions not warranted
16   because plaintiff was not prejudiced where defendant produced “other, and in some
17   instances, identical or better evidence of [defendant’s] alleged infringement” and
18   plaintiff “was unable to explain how his case would have been different” if he had
19   received the lost materials).
20         Even where a court finds spoliation, it may, within its discretion, decline to grant
21   sanctions. Toppan Photomasks Inc. v. Park, No. 13–cv–03323–MMC (JCS), 2014 WL
22   2567914, at *4 (N.D. Cal. May 29, 2014). The court has “broad discretion to make
23   discovery and evidentiary rulings conducive to the conduct of a fair and orderly trial.”
24   Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982 F.2d 363, 368 (9th Cir.
25   1992). Courts can, and do, decline to impose sanctions pursuant to this discretionary
26   authority where plaintiffs are not prejudiced by the lost evidence.          See Toppan
27   Photomasks, 2014 WL 2567914, at *4 (declining to impose adverse inference for
28   spoliated evidence where plaintiffs were not prejudiced); Ahcom, 2011 WL 3443499, at
                                                74
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1    *9 (same); Hamilton, 2005 WL 3481423, at *8 (same). “The bare fact that evidence has
2    been . . . destroyed does not necessarily mean that the party has engaged in sanction-
3    worthy spoliation.” Zest IP Holdings, 2013 WL 6159177, at *9.
4    Plaintiffs’ cases are distinguishable:
5          The cases Plaintiffs cite involve egregious failures to preserve evidence—facts
6    simply not present in this case. In In re Napster, Inc. Copyright Litigation, for example,
7    the willful or grossly negligent misconduct at issue included a failure to cease its “policy
8    of deleting all emails,” and an email produced at the close of discovery explicitly
9    instructed “recipients to delete all of their Napster-related emails going forward in order
10   to avoid surrendering them.” 462 F. Supp. 2d at 1073. Similarly, 4DD Holdings, LLC
11   v. United States, involved an instruction to delete information because of the pending
12   litigation paired with a narrow interpretation of the relevant preservation hold. 143 Fed.
13   Cl. 118, 132–33 (Fed. Cl. 2019). Plaintiffs do not, and cannot, allege that Cognizant
14   directed the destruction of emails or failed to disclose its document retention policies.
15         Apple Inc. v. Samsung Electronics Co., Ltd. (Apple I), also involved flagrant and
16   “willful” violations of discovery obligations that have no bearing here. 881 F. Supp. 2d
17   at 1150–51. Samsung failed to suspend a bi-weekly automatic email deletion policy that
18   amounted to “ke[eping] the shredder on” after litigation was anticipated, implemented a
19   litigation hold that required employees to affirmatively undo the automatic deletion of
20   their emails by affirmatively saving them, and completely failed to monitor compliance
21   with the hold. Id. at 1140–43, 1150. Even upon the court’s order, Samsung had not
22   suspended the biweekly email deletion policy. Id. at 1149. No such “willful” conduct
23   has occurred in this case.     And even despite Samsung’s willful spoliation, upon
24   consideration of the magistrate judge’s order, Judge Koh granted partial relief from the
25   magistrate judge’s order granting an adverse inference, finding that the adverse inference
26   was too harsh where “Samsung produced over 12 million pages of documents, including
27   over 80,000 emails, gathered from more than 380 witnesses” and thus Apple’s prejudice
28   was “not particularly strong.” Apple II, 888 F. Supp. 2d at 994. Where so much evidence
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1    had been produced, the court “f[ound] it difficult to conclude that Apple’s ‘ability to go
2    to trial’ was significantly hampered.” Id. (citation omitted).
3          Many of Plaintiffs’ authorities involve complete failures to preserve evidence.
4    For example, the defendant in Zest IP Holdings, LLC v. Implant Direct Mfg., never
5    implemented a litigation hold or provided “any affirmative instructions to their
6    employees to preserve potentially relevant documents.” 2013 WL 6159177, at *6; see
7    also Blumenthal Distrib., Inc. v. Herman Miller, Inc., No. ED CV 14-1926-JAK (SPx),
8    2016 WL 6609208, at *11 (C.D. Cal. July 12, 2016) (defendant “never instituted a
9    proper litigation hold”) (emphasis in original)).       Cognizant has been forthright
10   concerning its document retention policies from the very beginning of this litigation and
11   has worked diligently to preserve relevant documents.
12         Finally, the cases Plaintiffs cite to support their argument that intentional
13   destruction can be inferred in this case evidence a pattern of deception or dereliction of
14   preservation duties that conflicts with Cognizant’s history of diligence in this case. In
15   Moody v. CSX Transportation, Inc.—an out-of-circuit case—the court inferred
16   intentional deprivation from defendant’s failure, over the course of four years, to ever
17   check that the only recording of the accident that was the subject of the litigation had
18   actually been saved or to attempt to recover the crashed laptop that contained the
19   recording. 271 F. Supp. 3d 410, 431–32 (W.D.N.Y. 2017). Similarly, Blumenthal
20   Distributing involved a pattern of discovery failures, including failure to ever implement
21   a litigation hold, violation of court orders to search particular locations for documents,
22   failure to remediate its own computer problems, and making affirmative
23   misrepresentations to the court. 2016 WL 6609208, at *12–14, 16. And Currin v.
24   Presidio Networked Sols. Grp., LLC involved a complete lack of diligence on the part
25   of the plaintiff to ensure documents were received by her counsel and actually produced
26   in discovery, ranging from “forg[etting]” about the existence of an electronic device with
27   relevant information to failure to confirm that an email production was actually received
28   by counsel. No. 3:16-CV-02177-BR, 2018 WL 4825184, at *6–7 (D. Or. Oct. 4, 2018).
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1    Unlike the offending parties in these cases, Cognizant has discharged its discovery
2    obligations throughout this case.
3                 c.     Sanctions are Not Warranted Under Rule 26(g)
4          Plaintiffs also separately seek sanctions pursuant to Rule 26(g), apparently as a
5    remedy for allegedly false certifications, but Plaintiffs’ request should not be granted.
6    Specifically, Plaintiffs request that Cognizant be compelled to search and produce
7    further custodial ESI (Cognizant has largely agreed), that the case schedule should be
8    extended (Plaintiffs intend to raise this issue before Judge Gee), and that monetary
9    sanctions should be imposed for efforts in this motion and in efforts to discovery the
10   document repositories that Cognizant allegedly failed to disclose based on allegedly
11   false certifications. None of this should be awarded. With respect to the request for
12   additional documents and an extension of the case schedule, those issues are discussed
13   in greater detail in the final section of this Joint Stipulation, where Plaintiffs address
14   those issues in detail.
15         With respect to the allegedly false certifications, there is no basis for sanctions.
16   Federal Rule of Civil Procedure 26(g)(1) provides that that upon signing discovery
17   responses, attorneys or parties certify that “to the best of the person’s knowledge,
18   information, and belief formed after a reasonable inquiry” that the responses are
19   complete and correct and are consistent with the rules governing discovery. An attorney
20   has conducted a “reasonable inquiry” under Rule 26(g)(1) “if the investigation
21   undertaken by the attorney and the conclusions drawn therefrom are reasonable under
22   the circumstances.”       Fed. R. Civ. P. 26(g)(3) advisory committee note to 1983
23   amendment. Attorneys “may rely on assertions by the client and on communications
24   with other counsel in the case as long as that reliance is appropriate under the
25   circumstances.” Id. In determining reasonableness, courts consider “the totality of the
26   circumstances.” Id. “The reasonableness of the inquiry is measured by an objective
27   standard; there is no required showing of bad faith.” Nat’l Ass’n of Radiation Survivors
28   v. Turnage, 115 F.R.D. 543, 555 (N.D. Cal. 1987).
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1          Courts should “not only weigh the burdensomeness and importance of the
2    discovery requested, but should also seek to further the just, speedy, and inexpensive
3    determination of every action.’” Reinsdorf, 296 F.R.D. at 615 (citation omitted).
4    Cognizant consistently has undertaken to respond to Plaintiffs voluminous document
5    requests, interrogatories, and informal requests and questions regarding a host of
6    discovery matters, and it has done so in good faith.
7          When missteps have occurred and a party has taken steps to correct them—as
8    Cognizant has done here— and in some cases raised the misstep itself, sanctions are
9    unwarranted. “Courts cannot and do not expect that any party can meet a standard of
10   perfection.” Id. (quoting Pension Comm. of the Univ. of Montreal Pension Plan, 685 F.
11   Supp. 2d at 461).
12         The search and response need not be “error-free”; supplemental productions for
13   inadvertently omitted responsive documents “do not necessarily equate to discovery
14   misconduct,” and a party may still be found to have complied in good faith. Id. Where
15   insufficiencies in production are corrected and where counsel confers to correct
16   insufficiencies, sanctions under Rule 26(g) are not warranted. See Glad-A-Way, Inc. v.
17   Lynn Mayer’s Great Lakes Glads, Inc., No. C–93–239 MHP, 1994 WL 69467, at *3
18   (N.D. Cal. Feb. 23, 1994) (no sanctions warranted where “evasive and incomplete”
19   initial answers were corrected by stipulation and the parties conferred regarding further
20   time for correction of interrogatory responses and document productions).
21                d.     Alternative or Additional Forensic Examination Sanctions Are
22                       Unwarranted.
23         In addition to or as an alternative to the sanctions discussed above, Plaintiffs ask
24   this Court to authorize a fishing expedition of Cognizant’s servers, laptops, and other
25   devices that might contain responsive ESI. Although discovery has not been perfect,
26   forensic imaging is reserved for “extreme situations,” Memry Corp. v. Kentucky Oil
27   Tech., N.V., No. C04-03843 RMW (HRL), 2007 WL 832937, at *3 (N.D. Cal. Mar. 19,
28   2007), where the requesting party presents “specific, concrete evidence of concealment
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1    or destruction of evidence,” Advante Int’l Corp. v. Mintel Learning Tech. (Advante I),
2    No. C 05-01022 JW (RS), 2006 WL 1806151, at *1 (N.D. Cal. June 29, 2006). For
3    example, production of “materially-different versions” of the same email, indicating that
4    the email may have been affirmatively “altered,” might be sufficient. Advante Int’l
5    Corp. v. Mintel Learning Tech. (Advante II), No. C 05-01022 JW (RS), 2006 WL
6    3371576, at *1 (N.D. Cal. Nov. 21, 2006)
7          Plaintiffs have pointed to no such circumstances here. Instead, the record reveals
8    that Cognizant has produced upwards of 270,000 documents and vast troves of data, has
9    responded to discovery requests and informal questions, and has actively participated in
10   the meet-and-confer process with Plaintiffs. As discussed in detail above, Cognizant
11   has identified and disclosed certain issues, including the inadvertent substitution of
12   Sriram Rajagopalan for Sriram Rajagopal. And, where Plaintiffs have pointed out
13   issues, Cognizant has immediately sought to investigate and remedy the issue, as it did
14   in the wake of the migration glitch. Plaintiffs appear to contend that Cognizant simply
15   has not tried hard enough in the wake of the migration glitch to collect documents from
16   custodian laptops, but that is pure speculation. Cognizant has devoted substantial
17   employee and attorney time to recovering additional .pst files from custodian laptops
18   and producing additional documents over the past few months.
19         The cases Plaintiffs cite as justification for forensic examination simply highlight
20   the sort of extreme conduct necessary for such sanctions and bolster the conclusion that
21   such sanctions are unwarranted here. For example, the court in CrossFit, Inc. v. Nat’l
22   Strength & Conditioning Ass’n, 2017 WL 2298473, at *5–6 (S.D. Cal. May 26, 2017),
23   ordered a forensic analysis of defendants’ servers on the basis of “plainly sufficient
24   evidence to find willfulness, bad faith, or fault on the part of the [defendants] in
25   withholding the recently discovered documents and in lying under oath.” Other cases
26   Plaintiffs cite involve abject inattention to discovery obligations so blatant as to amount
27   to concealment. In Ascar v. U.S. Bank, N.A., No. 2:13–cv–07496–DSF–VBK, 2014 WL
28   12639926, at *1 (C.D. Cal. Sept. 25, 2014), for example, the court ordered forensic
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1    imaging where plaintiff failed to respond to discovery requests, to meet and confer, or
2    to participate in the parties’ Rule 37 joint stipulation and ignored the court’s order to
3    compel. In Currin v. Presidio Networked Sols. Grp., LLC, 2018 WL 4825184, at *4, 7,
4    the court ordered forensic imaging of plaintiff’s electronic devices where she produced
5    only 556 total documents before discovery closed and claimed she did not realize that a
6    vast number of documents had not been produced. And, in Garrison v. Ringgold, No.
7    19-cv-0244 GPC-DEB, 2020 WL 6537389, at *2 (S.D. Cal. Nov. 6, 2020), the court
8    ordered forensic imaging where defendant claimed he had nothing to produce because
9    his relevant accounts had been “hacked” and his hard drive “fried,” and then ignored
10   plaintiffs’ efforts to meet and confer.
11         Other cases Plaintiffs cite are inapposite because they deal with cases in which a
12   forensic examination of computers is warranted because the computers or hard drives
13   had a special connection to the lawsuit itself. The computers at issue here merely
14   belonged to custodians who Plaintiffs posit are relevant to their claims of discrimination,
15   which stands in sharp contrast to the cited cases. See Ingrid & Isabel, LLC v. Baby Be
16   Mine, LLC, No. 13-cv-01806-JCS, 2014 WL 1338480, at *9 (N.D. Cal. Apr. 1, 2014)
17   (“The production of hard drives is a remedy that is typically ordered only in cases that
18   ‘involve an extreme situation . . . where computers have a special connection to the
19   lawsuit.’” (citation omitted)); see Roadrunner Transp. Servs., Inc. v. Tarwater, No.
20   SACV 10–1534 AG (MLGx), 2012 WL 12918345, at *2 (C.D. Cal. Aug. 5, 2012)
21   (forensic examination appropriate because movant alleged non-movant used the devices
22   to transfer stolen data); Bryant v. Mattel, Inc., No. C 04–09049 SGL RNBX, 2007 WL
23   5416681, at *10 (C.D. Cal. Jan. 26, 2007), enforcement granted in part, denied in part,
24   2007 WL 5430887 (C.D. Cal. June 20, 2007) (forensic examination of hard drive
25   appropriate where non-movant allegedly misused movant’s property to secretly aid
26   competitor in violation of employment agreement).
27         Plaintiffs’ allegations here fall far short of “specific, concrete evidence of
28   concealment or destruction.” Advante I, 2006 WL 1806151, at *1. As explained in
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 1   detail above, Plaintiffs’ complaints stem from differing views as to when certain
 2   custodians should have been placed on hold, an inadvertent error concerning a single
 3   custodian that Cognizant caught and disclosed, and apparent misunderstandings
 4   regarding the source of Cognizant’s initial document collection. None of these disputes
 5   raise questions as to the reliability and completeness of Cognizant’s discovery, but
 6   instead represent disagreements or discovery issues that routinely plague massive cases
 7   like this one.
 8          Plaintiffs’ second theory that forensic imaging is warranted to determine
 9   appropriate sanctions is unsupported by their cited cases. The court in CrossFit, Inc. v.
10   National Strength & Conditioning Association, 2017 WL 2298473, at *6, did not order
11   plaintiff to “commission a neutral forensic analysis . . . to determine whether terminating
12   sanctions were appropriate,” as Plaintiffs claim. JS at p. 42. Instead, the court ordered
13   forensic imaging only after it determined sanctions were warranted. Likewise, in
14   Blumenthal Distrib., Inc. v. Herman Miller, Inc., 2016 WL 6609208, at *7–8, 27–28, the
15   court determined that sanctions were warranted only after a forensic analysis conducted
16   at the agreement of the parties demonstrated documents had been lost.
17          Plaintiffs simply have not justified the intrusive imposition of forensic imaging.
18                    B.    PLAINTIFFS’ ENTITLEMENT TO SANCTIONS FOR
                            COGNIZANT’S FAILURE TO DISCLOSE ARBITRATION
19
                            AGREEMENTS
20
                      Plaintiffs’ Position
21
                      a.    Legal Standard
22
            Rule 26 requires a party to provide, “without awaiting a discovery request, . . . a
23
     copy—or a description by category and location—of all documents, electronically stored
24
     information, and tangible things that the disclosing party has in its possession, custody,
25
     or control and may use to support its claims or defenses, unless the use would be solely
26
     for impeachment.” Fed. R. Civ. P. 26(a)(1)(ii). Parties are obligated to supplement their
27
     disclosures, and any request for production, “in a timely manner if the party learns that
28
                                                   81
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1    in some material respect the disclosure or response is incomplete.” Fed. R. Civ. P. 26(e).
2    Moreover, when producing documents in response to a discovery request, “[t]he
3    production must . . . be completed no later than the time for inspection specified in the
4    request or another reasonable time specified in the response.”          Fed. R. Civ. P.
5    34(b)(2)(B) (emphasis added).
6          Cognizant neglected to disclose the existence of 14,850 arbitration agreements
7    with putative class members—identifying them as relevant documents that Cognizant
8    “may use to support its claims and defenses” for the first time their October 5, 2021
9    Supplemental Initial Disclosures, served ten days prior to the close of discovery.
10   Kotchen Decl. ¶ 6; Ex. 54 at 9 (Cognizant’s Supp. Initial Disclosures). Cognizant then
11   produced the arbitration agreements at the very close of discovery, thereby prohibiting
12   Plaintiffs from taking any follow-up discovery on them. Kotchen Decl. ¶ 6.
13                b.    Background
14         Cognizant provided its Rule 26 Initial Disclosures to Plaintiffs on February 11,
15   2019, which was the agreed-upon deadline for their production. Ex. 30; Fed. R. Civ. P.
16   26(a)(1)(C). The disclosures made no mention of arbitration agreements with putative
17   class members. Id. On October 15, 2021, over 2.5 years later, Cognizant supplemented
18   the disclosures, identifying for the first time the existence of “[a]rbitration agreements
19   entered into by putative class members.” Ex. 54.
20         The arbitration agreements were also subject to a document request issued to
21   Cognizant in January 2019. Request No. 17 to Plaintiffs’ First Set of Requests sought
22   documents relating to Cognizant’s affirmative defenses:
23         REQUEST NO. 17: Documents and ESI relating to each denial and affirmative
           defense raised in Cognizant’s Answer (including any amended Answer).
24
     See Ex. 55 at Req. No. 17 (Pls.’ First Set of RFPs). Cognizant served the following
25
     response to this Request on August 30, 2019:
26
           RESPONSE TO REQUEST NO. 17: Defendants incorporate their
27
           preliminary statement and general objections as if fully set forth in response
28         to this Request. Defendants further object to this Request to the extent that
                                               82
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1             it seeks information that is not relevant to the subject matter of this litigation
2             or seeks information disproportionate to the needs of the case and of such
              marginal relevance that its probative value is substantially outweighed by
3             the burden imposed on Cognizant in having to search for and provide such
4             information. Defendants object to this Request on the ground that it is
              overly broad in its use of the term “relating to.” Defendants object to this
5             request as overly broad and unduly burdensome. Defendants further object
6             to this Request on the ground that it calls for information that is proprietary,
              trade secret, or otherwise confidential.
7             Subject to and without waiver of any of the foregoing general and specific
8             objections, Defendants respond as follows: Subject to entry of a suitable
              Protective Order, Defendants will produce documents, electronically stored
9             information, and tangible things that are in its possession, custody, or
10            control, and which it may use to support its claims or defenses, unless the
              use would be solely for impeachment.
11
     See Ex. 56 at Answer No. 17 (Cognizant’s Resp. to RFPs).115
12
              In its response, Cognizant explicitly agreed to produce responsive documents, and
13
     did not state that any responsive documents were being withheld subject to its objections.
14
     See id.; Fed. R. Civ. P. 34(b)(2)(C) (“An objection must state whether any responsive
15
     materials are being withheld on the basis of that objection.”).
16
                     c.     Argument
17
              On October 14, the day before the close of fact discovery, see Order at 2 (Dkt.
18
     157), Cognizant produced 14,850 arbitration agreements. Kotchen Decl. ¶ 6. Cognizant
19
     was required to identify these agreements in its initial disclosures, but chose not to do
20
     so, instead waiting to disclose them until October 5, 2021, 11 days before the close of
21
     discovery. See Ex. 30 (initial disclosures); Ex. 54 (supplemental disclosures); Fed. R.
22
     Civ. P. 26(a)(1)(ii) (requiring disclosure of documents used to support a party’s
23
     defenses). In doing so, Cognizant precluded Plaintiffs from taking follow-up discovery
24
     regarding the agreements and the agreements’ enforceability. As a result, Plaintiffs now
25
     have no way of knowing, inter alia, when and why Cognizant instituted the arbitration
26
     agreements; whether signing the agreement is a mandatory condition for employment or
27

28   115
           A protective order was entered on September 24, 2019. See Dkt. 64.
                                                   83
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1    continued employment; whether the agreements are presented to applicants, employees,
2    or both; how many individuals have been asked to sign these agreements; how many
3    agreements have been signed by putative class members; how many individuals declined
4    to sign the agreements, and those individuals’ fates; whether the language in the
5    agreements has changed over time and why; and whether Cognizant informed
6    individuals of this class action lawsuit prior to requiring them to sign the agreements.116
7          While it appears from a preliminary review that the arbitration agreements are
8    dated between 2019 and the present, Plaintiffs have no way of knowing when Cognizant
9    introduced the agreements without reviewing each agreement. That information is not
10   apparent from the metadata, which lists each agreement’s “master date,” “created date,”
11   and “modified date” as October 9, 2021, regardless of when the agreement was signed.
12   Kotchen Decl. ¶ 6. This is presumably the date on which the agreements were gathered
13   or when Cognizant ran the production. Even assuming, arguendo, that Cognizant began
14   using arbitration agreements in 2019, it should have started producing them on a rolling
15   basis that year. But instead, Cognizant failed to disclose the agreements for over 2.5
16   years and produced the 14,850 arbitration agreements on October 14, 2021, foreclosing
17   Plaintiffs from taking discovery on them. Plaintiffs should therefore be afforded the
18   opportunity to take discovery concerning the arbitration agreements.
19         Cognizant’s argument that Plaintiffs lack standing to challenge the arbitration
20   agreements is unavailing. “[T]he Ninth Circuit has not issued a published case
21   addressing whether a plaintiff who does not sign an arbitration agreement has standing
22   to challenge the agreement in a class action proceeding . . . and the district courts that
23
     116
24      While Cognizant argues in its November 9, 2021 letter that Plaintiffs too withheld
     documents which it produced near the close of discovery, the vast majority of the
25
     documents were solicitations from recruiters to Plaintiff Piroumian (supplementing his
26   prior document production from December 2019 forward), and updated income
27
     information for Plaintiffs for 2020 and 2021, for which no follow-up discovery is
     required. Ex. 21 at 21; Kotchen Decl ¶ 8. Additionally, all but 44 documents have been
28   produced from Plaintiffs’ privilege log. Kotchen Decl. ¶ 8.
                                                84
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 1   have encountered the argument have refused to limit discovery on th[e] basis [of
 2   standing].” Urena v. Central Cal. Almond Growers Ass’n, No. 1:18-cv-00517, 2019 WL
 3   2390042, at *4, 6, 7 (E.D. Cal. June 6, 2019) (ordering Defendant to respond to
 4   discovery and compelling production of contact information of all putative class
 5   members and “whether or not those class members signed an arbitration agreement”).
 6   Had the arbitration agreements been timely disclosed Plaintiffs would have been able to
 7   take follow-up discovery on them to determine, e.g., whether they are unenforceable.
 8   See id. at *5 (“find[ing] that Plaintiff makes a colorable argument that the post-litigation
 9   [arbitration] agreements are impermissible: to the extent the post litigation arbitration
10   agreements do not provide notice of the present suit or otherwise accurately apprise the
11   putative class members of their rights in this suit” and ordering follow-up discovery);
12   see also Sansone v. Charter Comm’ns, Inc., No. 17-cv-01880, 2019 WL 460728, at *8-
13   9 (S.D. Cal. Feb. 6, 2019) (finding contact information of putative class members that
14   had signed arbitration agreement relevant because “[b]y communicating with putative
15   class members, Plaintiffs will be able to gather information related to the enforceability
16   of the arbitration agreement, which may be an issue during the certification stage”).
17                Defendants’ Position
18         On October 5, 2021, Cognizant supplemented its initial disclosures and added
19   “[A]rbitration agreements entered into by putative class members” to its list of
20   potentially relevant documents that it might rely upon to support its claims and
21   defenses.” Pls. Ex. 54 at pp. 8-9. Cognizant made this timely disclosure in the ordinary
22   course of determining information it may rely upon at some point in the case.
23         The disclosure requirements of Rule 26(a)(1)(A) “are designed to . . . help focus
24   the discovery that is needed[] and facilitate preparation for trial or settlement.” Fed. R.
25   Civ. P. 26, advisory committee’s note to 1993 amendment. Thus, the rule should “be
26   applied with common sense in light of the principles of Rule 1, keeping in mind the
27   salutary purposes that the rule is intended to accomplish.” Id. In line with the pragmatic
28   flexibility underpinning its purpose, Rule 26 calls for supplementation of initial
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1    disclosures “in a timely manner” where additional information becomes available after
2    the initial disclosures have been made. Fed. R. Civ. P. 26(e)(1)(A). The rule does not
3    mandate a timeline, and supplemental disclosures made prior to the close of discovery
4    are timely. See Fabric Selection, Inc. v. NNW Import, Inc., 2018 WL 1779334, at *3
5    (C.D. Cal. Apr. 11, 2018) (finding documents disclosed “only days before the close of
6    discovery” were timely under Rule 26(a)); Jackson Family Wines, Inc. v. Diageo N. Am.,
7    Inc., 2014 WL 104902, at *3 (N.D. Cal. Jan. 9, 2014) (finding photos produced a week
8    before the close of fact discovery were timely under Rule 26); Kirby v. Homax Prods.,
9    Inc., 2007 WL 2600838, at *3 (W.D. Wash. Sept. 7, 2007) (finding supplemental
10   disclosure made “nine days before the close of discovery and well in advance of trial”
11   was timely under Rule 26(a)); Broadband iTV, INC. v. Hawaiian Telcom, Inc., 2015 WL
12   12776596, at *3–4 (D. Haw. Sept. 10, 2015) (finding expert disclosure made “just days
13   before the discovery deadline” was timely under Rule 26(a)); Jackson v. United Artists
14   Theatre Cir., Inc., 278 F.R.D. 586, 592 (D. Nev. 2011) (finding disclosures did not
15   violate Rule 26(a)(1)(A)(ii) where supplemental disclosure had been served on the last
16   day of discovery).
17         Bare assertions that “the disclosures should have been provided sooner” do not
18   change the fact that the disclosures were made before the fact discovery cut-off. See
19   Kirby, 2007 WL 2600838, at *3–4; Werbicky v. Green Tree Serv., LLC, 2014 WL
20   5470466, at *3 (D. Nev. Oct. 27, 2014) (“Defendant’s bare assertions that Plaintiffs
21   provided at the close of discovery documents that should have been provided as an initial
22   disclosure (or earlier supplement) is simply insufficient to carry its burden of showing
23   good cause to reopen discovery.”).
24         It bears noting that Plaintiffs should not be heard to complain when they too
25   produced documents equally close (and in some instances closer) in time to the October
26   15, 2021 discovery cut-off and also served supplemental initial disclosures on the final
27   day of discovery, thereby precluding Cognizant from “further discovery.” Specifically,
28   Plaintiffs produced nearly 3,800 documents from the named Plaintiffs one week before
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1    the October 15 deadline along with a 238-entry privilege log, having never previously
2    noted additional documents would be forthcoming or that they were withholding any
3    documents from prior productions on the basis of privilege. On the final day of
4    discovery, October 15, Plaintiffs also sent Cognizant supplemental disclosures
5    calculating Plaintiffs’ alleged damages for the first time, despite damages disclosures
6    being specifically required as part of the initial disclosures under Rule 26(a)(1)(A)(iii).
7          With respect to the surprise privilege log, Cognizant initially elected not to raise
8    the privilege log issues with the Court, understanding the discovery deadline to be
9    October 15. However, in light of Plaintiffs’ argument that the deadline for all discovery
10   motions is December 16, Cognizant sent Plaintiffs a Rule 37 letter regarding the
11   numerous obvious deficiencies in Plaintiffs’ late-produced privilege log. Maryott Decl.,
12   Ex. 12. In response to these obvious issues, Plaintiffs admitted that of the 238 privilege
13   log designations, they would only continue to stand by 53 of them (Plaintiffs initially
14   listed 59 on the letter they sent in response to Cognizant, but there appear to only be 53
15   remaining).117
16         With respect to the produced documents themselves, Plaintiffs contend that
17   because “the vast majority of the [roughly 3800] documents were solicitations from
18   recruiters to Plaintiff Piroumian (supplementing his prior document production from
19   December 2019 forward), and updated income information for Plaintiffs for 2020 and
20   2021, for which no follow-up discovery is required,” their production just before the
21   close of discovery is permissible. JS at p. 84. But, Plaintiffs’ productions (including
22   documents produced only as a result of Cognizant pointing out obvious problems with
23   Plaintiffs’ privilege log) are highly probative. One document, for example, is an email
24
     117
            There were some issues in several versions of the revised privilege logs sent by
25
     Plaintiffs, including a version sent with some filters set on an Excel to obscure the type
26   of claimed privilege that Cognizant primarily challenged. The parties are working
27
     through these issues, but that may have been the reason for the unclear number of
     privilege log entries that Plaintiffs continue to stand by. Regardless, 75-80% of the
28   original entries on the log were obviously overbroad.
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1    between one named Plaintiff and the EEOC.               Another involves communications
2    regarding one Plaintiff’s attempts to be allocated prior to his termination. And another
3    document is an email between Plaintiff Piroumian and reporter Sara Blackwell, Maryott
4    Decl., Ex. 11. That final email is particularly probative as it was written while Piroumian
5    was still at Cognizant (and prior to his termination), noting that “I am at Cognizant for
6    another four weeks as I’m on CDP . . . big surprise, eh?! I will be participating in the
7    law suit that Daniel Kitchen is preparing.” Maryott Decl., Ex. 11. This email goes
8    directly to whether Mr. Piroumian was even attempting in good faith to be allocated to
9    a new project in his final weeks, as he seemed to concede that he would automatically
10   be terminated within four weeks. Regardless, Cognizant was prevented from asking
11   Piroumian questions about this document in his deposition, or conducting any follow up
12   discovery, without any explanation for why this June 2017 email was only produced on
13   October 8--roughly a year and a half after Piroumian’s other documents were produced.
14   Similarly, the idea that Cognizant would not need to conduct further discovery into
15   Plaintiffs’ damages calculations or claims is obviously incorrect.
16          As for the arbitration agreements, Plaintiffs’ engagement on this issue reveals
17   their true goal—it is not to obtain discovery concerning the arbitration agreements, but
18   to preclude their use entirely. Plaintiffs for the first time in this joint stipulation identify
19   discovery that they claim would be necessary concerning the arbitration agreements.
20   Yet, they have not asked Cognizant to include those topics in the upcoming substantive
21   Rule 30(b)(6) deposition. See Fabric Selection Inc., 2018 WL 1779334, at *3 (rejecting
22   plaintiff’s request for exclusion of documents disclosed before the discovery cut-off
23   when plaintiff had “fail[ed] to seek follow-up discovery with ten days remaining before
24   the cut-off.”).
25          Finally, with respect to the questions of standing to challenge the arbitration
26   agreements or the enforceability of the agreements, those are issues that will be properly
27   addressed if, or when, Cognizant offers the arbitration agreements in support of its
28
                                                 88
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 1   defenses. If it does not ultimately elect to utilize them to support its defenses, then the
 2   Court will not need to rule on those issues.
 3                  C.     PLAINTIFFS’ ENTITLEMENT TO SANCTIONS FOR
                           IMPROPER COMMUNICATIONS WITH CLASS
 4
                           MEMBERS
 5
                    Plaintiffs’ Position
 6
                    a.     Legal Standard
 7
           While defense attorneys may generally contact absent putative class members
 8
     prior to class certification, “courts have limited pre-certification communications with
 9
     potential class members after misleading, coercive, or improper communications were
10
     made.” Mevorah v. Wells Fargo Home Mortg., Inc., No. C 05-1175 MHP, 2005 WL
11
     4813532, at *3 (N.D. Cal. Nov. 17, 2005). Courts have “broad” power under Rule 23(d)
12
     to ensure the integrity of class actions, including taking prophylactic action with respect
13
     to communications. Marino v. CACafe, Inc., No. 16-CV-6291 YGR, 2017 WL 1540717,
14
     at *2 (N.D. Cal. Apr. 28, 2017). At a minimum, the defense attorney must disclose who
15
     they are representing and that their client’s interests are adverse to the putative class
16
     members. Mevorah, 2005 WL 4813532, at *5. If the court finds, based on the
17
     communications between the defense attorney and one putative class member that the
18
     employee was misled, “it is reasonable to assume that other employees, . . ., may have
19
     been [or may be] misled.” Id. at *5.
20
                    b.     Argument
21
           Cognizant has acknowledged that it has been contacting members of the putative
22
     class to “identify potential witnesses to support denial of class certification as to any
23
     class Plaintiffs may seek to certify.”118 However, Cognizant claims its communications
24
     were not misleading because it told each such person (a) that they were part of the
25
     putative class and (b) that their interests could be adverse to Cognizant. Id. Cognizant
26
     also claims that it “has not made settlement offers to any putative class members in this
27
           118
28               Ex. 21 at 8.
                                                 89
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1    case.”         Id.   However, Cognizant’s representations are false and Cognizant has
2    improperly destroyed evidence in its possession that is capable of confirming this.
3             George Pelosi is a member of the putative class. He worked for Cognizant from
4    May 16, 2016 to March 29, 2021.119 He is non-Indian and Cognizant failed to promote
5    him, and underpaid his bonus during this employment. Id. ¶ 3. His employment ended
6    under circumstances that could constitute a constructive termination. Id.
7             Cognizant’s Associate General Counsel, Jared Barcenas, contacted Mr. Pelosi on
8    September 24, 2021, notifying him that attorneys for Gibson, Dunn & Crutcher (“Gibson
9    Dunn” may contact him because they were interested in speaking with current and
10   former employees about their experience with the company. Id. ¶ 4. After Mr. Pelosi
11   asked further about the subject matter of the call, Mr. Barcena stated that Cognizant was
12   defending a discrimination class action lawsuit and that Mr. Pelosi shared “certain
13   characteristics . . . in common with the named plaintiffs.” Id.
14            When Mr. Pelosi spoke with the Gibson Dunn attorneys, they did not disclose the
15   details of the class action lawsuit, that they represented Cognizant, or that their client’s
16   interests were potentially adverse Mr. Pelosi’s. Id. ¶ 5. Indeed, Mr. Pelosi was initially
17   under the impression that Gibson Dunn were representing the plaintiffs because they
18   wanted to “get [his] side” of why he left Cognizant. Id.
19            Mr. Pelosi also indicates that he was “repeatedly asked” if he had supervisory
20   responsibilities, and when he said no, whether he was “positive” he had no such
21   responsibilities. Id. ¶ 6. He was also asked if he left Cognizant of his “own free will.”
22   Id.
23            Mr. Pelosi also specifically confirms that Gibson Dunn did not tell him he was
24   part of the putative class or that he would not be penalized or retaliated against if he did
25   not want to talk. Id. ¶ 9.
26

27
              119
28                  Ex. 57 ¶ 2 (Pelosi Decl.).
                                                     90
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1          According to Mr. Pelosi, the Gibson Dunn attorney informed him at the “very end
2    of the call” that they “had recorded the call and they may or may not use the recording
3    in the lawsuit.” Id. ¶ 8. When Mr. Pelosi expressed concern about whether the recording
4    might be used against him, the attorney responded that he “was not in trouble.” Id.
5          After receiving information about this call from Mr. Pelosi, Plaintiffs’ Counsel
6    asked Defendants’ Counsel to confirm they were recording calls with putative class
7    members.120 Defendants’ Counsel denied that they had recorded the call with Mr. Pelosi,
8    but admitted that multiple calls with other putative class members were recorded.
9    However, they claimed that a junior attorney had recorded that call without
10   authorization, and had “deleted the recordings promptly after completing the interview
11   summaries.”121 Defendants’ Counsel did not respond to follow-up questions from
12   Plaintiffs’ Counsel. Kotchen Decl. ¶ 7.
13         Mr. Pelosi’s account of his call with Gibson Dunn attorneys merits the Court’s
14   supervisory intervention for multiple reasons. First, Mr. Pelosi was not told—and did
15   not realize—who Gibson Dunn was representing and that his interests were adverse until
16   halfway through the call. Ex. 57 ¶¶ 5, 9. Second, Gibson Dunn did not provide Mr.
17   Pelosi with sufficient information about the lawsuit, so that he might ascertain that his
18   interests were adverse on his own. Id. ¶ 5. Finally, it is concerning that Gibson Dunn
19   surreptitiously recorded the call with Mr. Pelosi and only told him at the very end of the
20   call that they might use it against him in the lawsuit. Id. ¶ 8. Although Defendants’
21   Counsel denies recording the call with Mr. Pelosi, Mr. Pelosi’s account is corroborated
22   by the fact that Cognizant admitted that other calls were recorded. See Ex. 59.
23         Defendants’ Counsel’s statement that recordings were destroyed is also
24   concerning because once Counsel decided to record the call, they had an obligation to
25   preserve that recording. Those recordings would be particularly helpful here because
26

27         120
                 Ex. 58 (Email from D. Kotchen to Cognizant (Nov. 3, 2021)).
           121
28               Ex. 59 (Email from M. Maryott to Pls. (Nov. 4, 2021)).
                                                 91
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 1   Cognizant is claiming to have provided admonitions to every putative class member,
 2   which Mr. Pelosi denies receiving.
 3         Cognizant’s claim that it has “not made settlement offers to any putative class
 4   members in this case” is also incorrect. Ex. 21 at 20. On October 4, 2021, Cognizant
 5   terminated Eric Goldberg’s employment. Ex. 43 ¶ 2 (Goldberg Decl.). On October 6,
 6   2021, Cognizant asked him to sign a severance agreement that released his claims,
 7   without disclosing the existence of this lawsuit to him. Id. ¶ 3.
 8         Plaintiffs request the Court order the following sanctions at this time pursuant to
 9   Federal Rule of Civil Procedure 23(d):
10           Order Defendants to cease communicating with putative class members;
11           Order Defendants to provide a list of all contacts with putative class members,
              so Plaintiffs can investigate whether further curative relief is appropriate;
12
             Order Defendants to produce a copy of any written communications with
13            putative class members;
14           Order Defendants to produce any recordings or summaries of its call with Mr.
15            Pelosi;
             Order Defendants to produce any recordings it made of interviews or other
16
              communications with putative class members;
17
             Order Defendants to produce summaries of any interviews with putative class
18            members that it recorded, but thereafter deleted the recording; and
19           Order Defendants to produce any releases or opt-out agreements obtained
              with putative class members.
20

21
           Cognizant should be restricted from further communications with putative class

22
     members because its communications with Mr. Pelosi demonstrate the potential for

23
     significant abuse. While Plaintiffs are not seeking other relief at this time, such as a

24
     curative notice, Plaintiffs ask for lesser relief, so that it can investigate whether

25
     additional court intervention is appropriate.

26
                  Defendants’ Position

27
           As an initial matter, Plaintiffs failed to comply fully with Rule 37 regarding the

28
     relief they now seek. In their Rule 37 letter dated October 28, 2021, they did not raise the

                                                92
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1    issue of recordings and with respect to Rule 23(d) advised Cognizant that they intended,
2    with respect to communications with putative class members, to seek an order “for any or
3    all of the following, in addition to sanctions: . . . requiring a curative notice to be sent to
4    putative class members, and prohibiting Cognizant from continuing to communicate with
5    putative class members.” Maryott Decl., Ex. 3.
6          On November 3, 2021, Plaintiffs raised the issue concerning Mr. Pelosi’s claim that
7    his phone conversation with attorneys from Gibson Dunn had been recorded, and
8    Cognizant promptly responded with complete transparency. Specifically, Cognizant
9    informed Plaintiffs’ counsel that the two attorneys who had been on the call with Mr.
10   Pelosi confirmed that they did not record the call with Mr. Pelosi and did not tell him the
11   call was recorded, but that a third attorney who was not on the call with Mr. Pelosi had
12   recorded calls with other witnesses to aid in preparing interview summaries. The parties
13   engaged in meet and confer calls on November 9, 10 and 12, but at no time did Plaintiffs’
14   counsel initiate a discussion regarding the issues concerning Mr. Pelosi, the recordings or
15   the relief they now seek, which includes a request that Cognizant turn over its work
16   product—namely, the identities of every putative class member that Cognizant
17   interviewed in preparing its defense to class certification and all interview notes. Maryott
18   Decl., ¶ 14. Notably, the only conversation that took place regarding Mr. Pelosi was a
19   conversation initiated by Cognizant’s counsel to Daniel Kotchen explaining the situation
20   and asking him to please consider the potential impact on this young lawyer if Plaintiffs
21   persisted in making this tangential and innocent lapse in judgment an issue. Maryott Decl.
22   ¶ 14. Plaintiffs therefore failed to properly meet and confer regarding any relief tied to
23   the assertions made by Mr. Pelosi.
24         As for the relief about which Plaintiffs did confer, i.e., concerning communications
25   with putative class members in general, Plaintiffs request this Court to strip Cognizant of
26   its due process rights to defend itself by precluding Cognizant from having any additional
27   contact with putative class members. The facts do not warrant the extraordinary relief
28   they seek.
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1          As even Plaintiffs now concede, it is black letter law that “[b]efore a class is
2    certified in a class action, counsel for both plaintiffs and defendants may communicate
3    with the putative class, ex parte, about the lawsuit.” Woolley v. Ygrene Energy Fund, Inc.,
4    No. 17-cv-01258-LB, 2020 WL 999846, at *1 (N.D. Cal. Mar. 2, 2020) (quoting Gulf Oil
5    Co. v. Bernard, 452 U.S. 89, 100 (1981)); see Trujillo v. Chef’s Warehouse W. Coast LLC,
6    No. 2:19-cv-08370 DSF (MAAx), 2020 WL 7315346, at *19 (C.D. Cal. Oct. 19, 2020)
7    (“[I]t long has been the rule that, in class actions, ‘before class certification has taken
8    place, all parties are entitled to equal access to persons who potentially have an interest in
9    or relevant knowledge of the subject of the action, but who are not yet parties.’” (citation
10   omitted)); Soto v. O.C. Commc’ns, Inc., 319 F. Supp. 3d 1165, 1167 (N.D. Cal. 2018)
11   (“[L]awyers are perfectly entitled to reach out to potential collective members . . . without
12   first seeking court approval.”).
13         The Supreme Court has held that courts may limit such communications only upon
14   “a clear record and specific findings that reflect a weighing of the need for a limitation
15   and the potential interference with the rights of the parties.” Gulf Oil Co., 452 U.S. at 101.
16   Under that standard, the moving party must provide “a particular and specific
17   demonstration of fact, as distinguished from stereotyped and conclusory statements.” Id.
18   at 102 n.16 (emphasis added). The Supreme Court has warned that “[t]here certainly is
19   no justification for adopting [a communications ban] in the absence of a clear record and
20   specific findings of need.” Id. at 104. The Ninth Circuit has accordingly reversed district
21   court orders limiting communication with potential class members when the district court
22   failed to make specific findings of potential abuse. See, e.g., Domingo v. New England
23   Fish Co., 727 F.2d 1429, 1439 (9th Cir. 1984); see also Williams v. U.S. Dist. Ct., 658
24   F.2d 430, 436 (6th Cir. 1981) (holding that a district court's “gag” order was invalid under
25   Gulf Oil Co. because it was not supported by “evidence of any abuse or potential abuse”).
26         Plaintiffs nevertheless urge this Court to ignore this binding precedent and sanction
27   Cognizant for its communication with current and former Cognizant employees—without
28   providing any evidence that restrictions on that communication are warranted. Plaintiffs
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1    present plenty of unsubstantiated allegations about the impropriety of these
2    communications. Yet they fail to acknowledge that “[t]he mere possibility of abuse,
3    without evidence that class counsel engaged in or plans to engage in such abuse, is
4    insufficient to block all communications with potential class members.” Nguyen v. Baxter
5    Healthcare Corp., 275 F.R.D. 503, 506 (C.D. Cal. 2011); see Cram v. Elec. Data Sys.
6    Corp., No. 07cv1842-LAB (NLS), 2008 WL 178449, at *3 (S.D. Cal. Jan. 17, 2008) (“A
7    mere possibility of confusion is insufficient to justify the district court’s exercise of
8    supervisory authority over parties’ communications with potential class members.”). By
9    failing to offer credible evidence of “the particular abuses by which [they are] threatened,”
10   therefore, Plaintiffs necessarily fail to carry their burden that would permit this court to
11   limit communications between Cognizant and putative class members. Gulf Oil Co., 452
12   U.S. at 102; see Amaraut v. Sprint/United Mgmt. Co., No. 3:19-cv-411-WQH-AHG, 2020
13   WL 1820120, at *2 (S.D. Cal. Apr. 10, 2020) (“The court cannot issue an order [limiting
14   communication with putative class members] without evidence that a potential for serious
15   abuse exists.” (emphasis added) (citation omitted)).
16         In its communications with putative class members, Cognizant’s attorneys gave
17   admonitions that conveyed the purpose and nature of the interview. Notably, Plaintiffs
18   have not even asked Cognizant for the content of the admonitions given to the putative
19   class members, a reasonable first step before making accusations and requesting the
20   extreme sanction sought here. Cognizant’s attorneys who conducted interviews signed
21   and dated admonition forms to create an internal record that the admonitions had been
22   given in full prior to asking any questions. The full text of the admonition, which is
23   attached to the Declaration of Raquel Sghiatti, is set forth here for the Court’s
24   convenience:
25
           1. I am an attorney representing Cognizant in a lawsuit filed by four
26         former employees: Christy Palmer, Vartan Piroumian, Edward Cox, and
27         Jean-Claude Franchitti (the “Plaintiffs”). These Plaintiffs bring the lawsuit
           (known as the Palmer lawsuit) on their own behalf and as a proposed class
28         action under federal law.
                                                95
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1

2         2. The Plaintiffs are seeking at this time to represent a class of all persons
          who are not of South Asian race or Indian national origin and who applied
3         for positions with (or within) Cognizant and were not hired, who were not
4         promoted after being in a position at least 12 months, and/or who were
          terminated from Cognizant, from September 18, 2013 to the present.
5

6         3. The Plaintiffs allege that Cognizant discriminated against non-Indian
          or non-South Asian employees and applicants in hiring, internal staffing,
7         promotion, and termination, and are seeking damages and other relief.
8         Cognizant disagrees and believes that at all times it has treated all
          employees fairly regardless of race or national origin and has at all times
9         had a strict policy against discrimination of any kind, including but not
10        limited to discrimination based on race, ethnicity, or national origin. The
          Court has not yet determined whether the lawsuit can proceed as a class
11        action or whether any of Plaintiffs’ claims against Cognizant have merit. A
12        decision on whether the lawsuit can proceed as a class is expected in Spring
          of 2022.
13

14        4. Cognizant has asked me to investigate these claims and to help the
          Company prepare its defense. I am interviewing a number of employees
15        like you to gather evidence to assist Cognizant in defending against
16        Plaintiff’s efforts to certify a class. I should also tell you that you fall within
          the group of individuals who the Plaintiffs seek to represent in this class
17        action and that Cognizant’s interests in this case could become adverse to
18        you or other employees that are currently encompassed in the proposed
          class. I also need to let you know that any information that you share with
19
          us could be used in the Company’s interests.
20
          5.   Before we start, I would like to go over a few preliminary matters:
21

22        6. Are you represented by an attorney concerning your employment with
          Cognizant? [If “yes,” thank the employee and end the interview]
23

24        7. Cognizant appreciates that you have agreed to speak with me, but you
          should understand that your participation today is completely voluntary.
25
          You are under no obligation to speak with me and may discontinue the
26        interview at any time.
27

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1          8. You should also know that you will not be given any extra benefit for
2          participating in this interview, nor will you be penalized or retaliated
           against in any way if you decide you would rather not talk to me.
3

4          9. As I mentioned, we are counsel that has been retained in connection
           with the defense of the Palmer case. We represent Cognizant, the corporate
5          entity. To assist us in that defense, we are interviewing employees on behalf
6          of Cognizant. We want to make clear that we do not represent any
           individual employee at Cognizant, and consistent with that, we do not
7          represent you and cannot provide you with any legal advice, do you
8          understand that?
9          10. I would ask that provide me with complete and truthful responses to
10         any of the questions I may ask today, but if there are any questions you do
           not want to answer, you do not have to do so.
11

12         11. You may be contacted by one of the Plaintiffs’ attorneys about this
           case. It is entirely up to you whether you want to speak with them.
13         However, like today’s interview, you are under no obligation to speak to
14         them.
15         12. Are you comfortable answering my questions at this point?
16

17   Declaration of Raquel Sghiatti (“Sghiatti Decl.”), Ex. A.

18         This is precisely the admonition that Cognizant’s attorneys read to Mr. Pelosi before

19   asking him any questions. Sghiatti Decl., ¶¶ 3-4. That Mr. Pelosi, who is clearly a

20   disgruntled employee, claims not to have understood is not something about which

21   Cognizant can do much now. But the claim that he was told the inyouterview was recorded

22   is simply not true. The attorneys who spoke with him did not record the interview and did

23   not tell him it was recorded. Sghiatti Decl., ¶ 6 (“I did not record the call with George

24   Pelosi, and I did not tell him the call was recorded.”); Roges Decl., ¶ 2. Mr. Pelosi appears

25   to have also confused a statement made by Mr. Barcenas via email that Mr. Pelosi was

26   “not in any kind of trouble,” Pls. Ex. 57, Ex. A, with his discussion with the Gibson Dunn

27   attorneys, because the subject of “trouble” did not come up during the interview. Sghiatti

28   Decl., ¶ 5.
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1          On November 3, 2021, Plaintiffs’ counsel wrote to Cognizant’s counsel advising
2    they “underst[ood] that Gibson Dunn attorneys recorded phone calls with putative class
3    members” and asking Gibson Dunn to preserve all recordings and provide copies to
4    Plaintiffs. Maryott Decl., Ex. 15 at p. 5. In response, Cognizant’s counsel promptly
5    responded that nobody had been directed or authorized to record any phone
6    conversations, but that they would look into the matter promptly, and requested
7    additional information to assist in an effort to determine if anyone had deviated from
8    protocol. Plaintiffs then identified George Pelosi and noted that he had informed them
9    that he had been told his call was being recorded. Id. at p. 4.
10         Cognizant confirmed that neither of the attorneys who spoke with Mr. Pelosi had
11   advised him that the call was recorded or recorded the call. And both confirmed that the
12   full admonition had been given to Mr. Pelosi. However, in the course of conducting
13   diligence in response to Plaintiffs’ counsel’s inquiry, one of Gibson Dunn’s new
14   attorneys who was not on the call with Mr. Pelosi shared that he had used a recording
15   feature on his phone during some conversations to aid in preparation of interview
16   summaries, and that he had deleted the recordings promptly after completing the
17   interview summaries. He did not recall which interviews he had recorded or how many.
18   Maryott Decl., ¶ 15. Although Plaintiffs’ counsel had inquired about Mr. Pelosi
19   specifically and this attorney had not been on the call with Mr. Pelosi, Cognizant’s
20   counsel shared all of this information in the interest of full transparency.
21         Even if Plaintiffs had complied with Local Civil Rule 37 (they did not), the relief
22   they seek would not be warranted. As reflected above, Cognizant’s counsel provided
23   detailed admonitions to putative class members with whom they spoke. There is no need
24   for any curative communication. Nor is there any basis for an order prohibiting Cognizant
25   from speaking with putative class members. Plaintiffs request this “relief” because they
26   want to foreclose Cognizant from presenting declarations from putative class members in
27   opposition to class certification, an outcome that would infringe on Cognizant’s due
28   process rights. See Jimenez v. Allstate Ins. Co., 765 F.3d 1161, 1168 (9th Cir. 2014)
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1    (recognizing that defendants have a “due process right to present individualized
2    defenses”); cf. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 367 (2011) (reinforcing
3    employer’s right to due process in class actions brought under Title VII).
4          Plaintiffs’ request to be provided with all of the names of the individuals contacted
5    by Cognizant’s counsel and all interview summaries also reflects a transparent effort to
6    secure Cognizant’s work product—i.e., the identities of individuals Cognizant chose to
7    interview in the course of preparing its defense in this case and the information gained
8    through the industry of Cognizant’s counsel, which would not otherwise be known to
9    Plaintiffs. This request should not be granted. It is black letter law that “the identity of
10   witnesses interviewed by opposing counsel is protected” work product because disclosure
11   of the identities of persons interviewed would allow “opposing counsel [to] infer which
12   witnesses counsel considers important, revealing mental impressions and trial
13   strategy.” Ferruza v. MTI Tech., 2002 WL 32344347, at *3 (C.D. Cal. June 13,
14   2002). Likewise, “[n]otes and memoranda of an attorney . . . from a witness interview are
15   opinion work product entitled to almost absolute immunity.” O’Connor v. Boeing N. Am.,
16   Inc., 216 F.R.D. 640, 643 (C.D. Cal. 2003) (citation omitted); see Upjohn Co. v. United
17   States, 449 U.S. 383, 399–401 (1981) (finding attorney “memoranda based on oral
18   statements of witnesses” were protected work product). Cognizant’s “evaluations,
19   impressions, and strategy” from these interviews “are at the heart of the work product
20   rule.” MTI Tech., 2002 WL 32344347, at *3.
21         Plaintiffs for their part cite no authority suggesting that an appropriate remedy
22   would be a court-sanctioned invasion of Cognizant’s work product. In contrast, numerous
23   courts have rejected sanctions of the type Plaintiffs seek here. See Bryant v. Serv. Corp.
24   Int’l, No. C 08–01190 SI, 2010 WL 2231871, at *1–2 (N.D. Cal. June 1, 2010) (denying
25   plaintiff’s motion to compel because identities of defendant’s witnesses and contents of
26   their statements were protected work product); In re Ashworth, Inc. Sec. Litig., 213 F.R.D.
27   385, 389 (S.D. Cal. 2002) (denying motion to compel production because identities of
28   persons interviewed during pretrial investigation were protected work product); MTI
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 1   Tech., 2002 WL 32344347, at *3 (same); see also McIntyre v. Main St. & Main Inc., No.
 2   C-99-5328 MJJ (EDL), No. C-99-5328 MJJ (EDL), 2000 WL 33117274, at *2 (N.D. Cal.
 3   Sept. 29, 2000) (denying motion to compel production of defendant’s witness interview
 4   notes because they “are absolutely protected under the work product doctrine”); Mitchell
 5   Eng’g v. City & Cty. of San Francisco, No. C 08–04022 SI, 2010 WL 1853493, at *1–2
 6   (N.D. Cal. May 6, 2010) (denying motion to compel production because defendant
 7   investigator’s witness interview notes were protected work product); O’Connor, 216
 8   F.R.D. at 643 (same); Hatamian v. Advanced Micro Devices, Inc, No. 14-cv-00226-
 9   YGR(JSC), 2016 WL 2606830, at *3 (same). “How a party, its counsel and agents choose
10   to prepare their case, the efforts they undertake, and the people they interview is not factual
11   information to which an adversary is entitled.” MTI Tech., 2002 WL 32344347, at *3
12   (citation omitted).
13
                  D.       COGNIZANT SHOULD BE COMPELLED TO PRODUCE
14
                           UNPRODUCED    RESPONSIVE DOCUMENTS   AND
15                         PLAINTIFFS SHOULD BE PERMITTED TO TAKE
                           RELATED DISCOVERY.
16
                  Plaintiffs’ Position
17
                  a.       Legal Standard
18
           Under Rule 26, “[p]arties may obtain discovery regarding any nonprivileged
19
     matter that is relevant to any party’s claim or defense and proportional to the needs of
20
     the case.” Fed. R. Civ. P. 26(b)(1). “Relevance is broadly construed ‘to encompass any
21
     matter that bears on, or that reasonably could lead to other matter that could bear on,’
22
     any party’s claim or defense.” Kajeet, Inc. v. Qustodio, No. CV 18-1519-JAK(PLAx),
23
     2019 WL 8060078, at *1 (C.D. Cal. Oct. 22, 2019) (citation omitted) (Abrams, J.).
24
     “Moreover, ‘[t]he party who resists discovery has the burden to show discovery should
25
     not be allowed, and has the burden of clarifying, explaining, and supporting its
26
     objections.’” Id. (citation omitted). When a motion to compel discovery is granted, the
27
     Court “must . . . require the party . . . whose conduct necessitated the motion . . . to pay
28
                                                100
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1    the movant’s reasonable expenses incurred in making the motion, including attorneys’
2    fees.” Fed. R. Civ. P. 37(a)(5)(A); Fed. R. Civ. P. 37, 1970 adv. comm. notes (“expenses
3    should ordinarily be awarded”).
4                   b.    Background
5          As discussed above, Cognizant agreed to produce ESI from agreed upon
6    custodians, including non-email ESI,122 but failed to produce non-email files, and failed
7    to produce e-mails from locations other than its email servers, even though discovery in
8    this case closed on October 15 (with some exceptions). Cognizant also failed to
9    interview custodians to determine where they store relevant files. Cognizant does not
10   dispute that non-email files and e-mail files from non-server locations are relevant and
11   responsive to Plaintiffs’ document requests.
12                  c.    Argument
13         This Court already ruled that Cognizant had a duty to supplement its document
14   production to include “any responsive ESI, including documents, on defendants’
15   OneDrive (or elsewhere), that have not previously been produced.” Dkt. 180 at 10. And
16   Cognizant recently agreed to produce documents from available laptops and OneDrive
17   folders used by custodians, but has not committed to a production date, or to producing
18   as SharePoint and the “Z drive.”123
19         Cognizant should be compelled to interview custodians to determine where they
20   stored potentially responsive ESI. Small v. Univ. Med. Ctr., No. 2:13-CV-0298-APG-
21   PAL, 2018 WL 3795238, at *43, 62 (D. Nev. Aug. 9, 2018) (“The special master
22   required the [custodian] interviews to be conducted a second time because the initial
23   custodian interviews conducted by counsel were inadequate.”).
24         122
                See Ex. 46 at 20 (“Of Plaintiffs’ 33 ESI custodians, Cognizant has agreed to
25   search the files and email boxes of just 11 custodians and has objected to the remaining
26   22.”); Jt. Stip. at 44 (Dkt. 80-1) (agreeing to produce “[w]ith respect to production of
     custodian ESI, . . . relevant, non-privileged emails of the custodians selected as well as
27   documents maintained electronically and within their possession, custody, and control”).
           123
28               Ex. 63 (Ltr. from M. Maryott to Pls. (Nov. 10, 2021)).
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 1         In addition, Cognizant should be compelled to collect and produce non-email ESI
 2   from the agreed custodians, including from any shared drives used by those custodians,
 3   as well as all e-mail ESI from the agreed custodians, including any unsearched non-
 4   server locations. Further, Plaintiffs should be permitted to take discovery related to the
 5   late-produced documents, including re-opening depositions to allow questioning related
 6   to the late-produced documents. This will require a significant extension to the case
 7   schedule given that Cognizant has not yet committed to any deadline for producing these
 8   documents. (Alternatively, meaningful discovery sanctions as requested above could
 9   obviate the need for additional discovery.) Good cause exists to extend the case schedule
10   under Fed. R. Civ. P. 16 (b)(4) because Plaintiffs have diligently pursued this discovery
11   and were unable to obtain it because Cognizant concealed it from Plaintiffs, not because
12   of any lack of diligence on the part of Plaintiffs.
13         Finally, Plaintiffs should be awarded monetary sanctions for the reasonable
14   attorneys’ fees and costs associated with this motion under Fed. R. Civ. P. 37(a)(5)(A),
15   as Cognizant’s failure to timely produce the documents was not substantially justified
16   and no other circumstances make an award of fees unjust.
17                Defendants’ Position
18         Cognizant has already agreed to, and represented to the Court that it will, search
19   the laptops and OneDrive (for those who used OneDrive) for the agreed-upon
20   custodians. [Dkt. 185, 188.] That effort is underway. Maryott Decl., ¶ 16. Plaintiffs’
21   request for an order compelling production of this ESI is therefore unnecessary.
22   Plaintiffs’ request that Cognizant search all shared drives to which custodians had
23   access, however, should not be granted because it is both time-barred and
24   disproportionate to the needs of the case. Plaintiffs served their first request for
25   production of documents in 2019.         In response, Cognizant served objections and
26   responses, and the parties thereafter conferred about the manner in which to proceed
27   with discovery. The parties agreed to a custodian-based approach (commonly used in
28   litigation), identified the custodians, negotiated the search terms over many months, and
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1    then Cognizant proceeded to pull the Office365 files, run the search terms, conduct a
2    responsiveness review and produce responsive, non-privileged documents. Both before
3    and after Cognizant began producing custodian emails and attachments, Plaintiffs
4    identified other types of documents and data in which they were interested that fell
5    outside the scope of what might be located in custodial ESI; and Cognizant produced
6    most of those, including: EEO-1 reports, Affirmative Action Plans, documents
7    pertaining to supervised recruitment, reports pertaining to visas and visa holders,
8    communications with the EEOC, finance reports, lists of individuals subject to certain
9    bench practices, internal employee grievances (Convercent) complaints, and hiring,
10   termination, promotion, allocation, bench, and visa data. Throughout this process,
11   Cognizant has produced more than 270,000 documents along with data for more than
12   100,000 employees and even more applicants. Maryott Decl., ¶ 2.
13         While Plaintiffs’ intense focus on discovery disputes would suggest otherwise, as
14   a substantive matter this case is actually not document-centric. By way of example,
15   despite insisting that Cognizant’s visa program was a critical part of their case, and
16   having received 14,592 documents from custodian Helen Kim, the head of Global
17   Mobility at Cognizant, Plaintiffs used only 16 documents at Ms. Kim’s deposition.
18   Maryott Decl., Ex. 14. Of the more than 30,000 documents produced for custodian
19   Venugopal Padmanabhan, Vice President of Talent Supply Chain, Plaintiffs used only
20   17 exhibits at his deposition, and one of those documents does not appear to have been
21   produced by Cognizant. Id., Ex. 13 The disproportionality is staggering. And now,
22   after having structured the discovery to be custodian-based, Plaintiffs want to take a new
23   approach and require Cognizant to run search terms through all documents located in
24   shared folders to which the custodians had access. This would be a monumental
25   departure from the approach to which the parties agreed. And the notion that Plaintiffs
26   were not aware until recently that Cognizant used shared drives or Sharepoint is not
27   plausible. The four named Plaintiffs were technology consultants who surely knew how
28   they performed their own work and the manner in which documents could be shared at
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1    Cognizant.       It is difficult to square Plaintiff’ request that Cognizant undertake the
2    substantial amount of work to determine which custodians might have accessed certain
3    sites at any time during their employment with Plaintiffs’ own failure to identify their
4    use of such sites during their employment.
5             As Judge Gee noted recently, discovery has to end at some point. [Dkt. 157 at p.
6    1 (“Defendant . . . aptly points out that discovery must come to an end at some point.”).]
7    Plaintiffs seek to conduct more discovery and want more time to conduct it, but there is
8    no basis—particularly considering the volume of data and documents already produced
9    and Cognizant’s agreement to search for documents on custodian laptops and
10   OneDrive—to essentially restart discovery and force Cognizant to research all shared
11   locations to which 23 custodians may have had access over a span of more than eight
12   years.
13            Finally, Plaintiffs have indicated their intent to file a request with Judge Gee to
14   extend the case schedule. As such, this Court need not entertain that request. Judge Gee
15   recently took a similar approach when Plaintiffs requested that she issue an Order
16   clarifying the timeliness of requests for documents from OneDrive, and Defendants
17   noted the issue was moot since this Court had already ruled on it. Judge Gee agreed:
18   “Moreover, as Cognizant notes, Judge Abrams ruled two days after Plaintiffs filed their
19   RFC that the OneDrive issue “is related to the late-discovered migration to Office 365.”
20   [Doc. # 180.] Cognizant does not dispute that discovery related to its OneDrive share
21   drive is subject to the December 16, 2021 discovery cut off. The Court therefore
22   DENIES as moot Plaintiffs’ RFC.” Maryott Decl., Ex. 10 at p. 1.
23

24

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                                 # : 5 1 4 1

1

2    DATED: November 23, 2021               KOTCHEN & LOW LLP
3

4                                           By: /s/ Daniel Kotchen
5                                           Daniel Kotchen

6                                           Attorney for Plaintiffs
7

8    DATED: November 23, 2021               GIBSON, DUNN & CRUTCHER LLP
9

10                                          By: /s/ Michele Maryott
11                                          Michele L. Maryott

12                                          Attorney for Defendants
13

14

15
                                SIGNATURE ATTESTATION
16

17         Pursuant to Local Rule 5-4.3.4(a)(2), I attest that concurrence in the filing of this
18   document has been obtained from the other signatories.
19

20   DATED: November 23, 2021               By: /s/Daniel Kotchen
21                                          Daniel Kotchen
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                              JOINT STIP. RE DISCOVERY DISPUTE
                                 Case No. 17-CV-6848 DMG (PLAx)
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                                  #:5142

1                              CERTIFICATE OF SERVICE
2
           I hereby certify that a true and correct copy of the foregoing was served on all
3

4    counsel of record by electronic service through the Court’s CM/ECF system.
5

6    DATED: November 23, 2021                    By: /s/Daniel Kotchen
                                                 Daniel Kotchen
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                             JOINT STIP. RE: DISCOVERY DISPUTE
                                Case No. 17-CV-6848 DMG (PLAx)
